                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )
and                                            )
                                               )      4:17-cv-00101
JG, SP, and their minor children, AP and       )
MH,                                            )
                                               )
                       Plaintiffs-Intervenors, )
                                               )
vs.                                            )      INTERVENING COMPLAINT
                                               )
TRUMBULL METROPOLITAN HOUSING )
AUTHORITY (TMHA), RUSSELL OSMAN, )
individually and in his official capacity as   )
Assistant Director of TMHA, VALERIE            )
SIMEON, individually and in her official       )
capacity as Voucher Program Coordinator for )
TMHA, and DELBENE LAPOLLA &                    )
THOMAS, a partnership,                         )
                                               )
                       Defendants.             )      JURY TRIAL DEMANDED


       Plaintiffs-Intervenors JG, SP, and their minor children, AP and MH, for their Intervening

Complaint, allege:

                        NATURE AND OVERVIEW OF THE ACTION

       1.      The United States has brought a single cause of action on behalf of JG, SP, and their

minor children as aggrieved persons to enforce rights and provisions of Title VIII of the Civil Rights

Act of 1968 (“Fair Housing Act” or “FHA”), as amended, 42 U.S.C. § 3601, et seq., against

Defendants.

       2.      The United States alleges that Defendants Trumbull Metropolitan Housing Authority

(“TMHA”), Russell Osman, in his official capacity as Assistant Director of TMHA (“Osman”), and
Valerie Simeon, in her official capacity as Voucher Program Coordinator for TMHA (“Simeon”),

violated Sections 804(f)(1) and 804(f)(2) of the FHA by engaging in unlawful discrimination on the

basis of disability or on the basis of association with a person with disability in the sale or rental of

housing, or to otherwise make housing unavailable because of disability or association with a person

with disability, 42 U.S.C. §§ 3604(f)(1), 3604(f)(2); and violated Section 804(f)(3)(B) of the FHA

by refusing to make reasonable accommodations in rules, policies, practices or services when such

accommodations may be necessary to afford persons with disabilities the equal opportunity to use

and enjoy housing, 42 U.S.C. § 3604(f)(3).

        3.      This not a typical housing discrimination case. TMHA, Osman and Simeons’s

misconduct extends well beyond the limited allegations in the United States’s complaint (ECF no.

1). These Defendants as shown below deprived Plaintiffs-Intervenors of federally subsidized housing

under the Housing Choice Voucher Program without due process of law in violation of the

Fourteenth Amendment of the United States.

        4.      Defendants responded to Plaintiffs-Intervenors’ housing discrimination complaint

filed with the United States Department of Housing and Urban Development (HUD), as alleged

below, with a coordinated campaign of intimidation, threats, retaliation, and racketeering in violation

of Section 818 of the FHA, and a pattern of fraud and racketeering in violation of the Racketeering

Influenced Corrupt Organizations Act (“RICO”), 18 U.S.C. §§ 1961, et seq.

        5.      Defendants’ misconduct flows from the misuse of a HUD-9886 Form to circumvent

JG’s privacy rights and obtain his confidential medical information to justify Defendants’

discrimination and refusal to provide reasonable accommodation due to disability. TMHA and

Simeon took the signature page from a form used to obtain income information – HUD-9886 Form

– signed by JG and SP, attached it to another form, a Verification of Need Form, which Simeon

                                             Page 2 of 72
prepared for JG’s signature and addressed to his medical care facility, to make it appear as though

JG had signed the Verification of Need Form, and then, without JG’s knowledge or consent, mailed

and used it to obtain unauthorized access to his medical information from JG’s medical care

providers in violation of Section 804(f)(2) of the FHA. 42 U.S.C. § 3604(f)(2); 24 C.F.R.

§§ 100.202(b) and 100.204.

       6.      Defendants’ deception and misuse of the HUD-9886 Form here is not an isolated

incident of misconduct. Defendants TMHA, Osman and Simeon admitted during the HUD

investigation that TMHA’s staff uses Housing Choice Voucher Program participants’ signature

pages from the HUD-9886 Form for Verification of Need Forms, as in this case, for verification of

need in connection with reasonable accommodation requests. This practice at TMHA of obtaining

unauthorized medical information when verifying reasonable accommodation requests is targeted

solely at disabled program participants, misuses the authorization of consent provided in the HUD-

9886 form, and circumvents the privacy rights of disabled program participants.

       7.      JG and SP and their minor children are black and Defendants Osman and Simeon are

white, and Defendants’ housing discrimination and failure to make reasonable accommodations in

violation of the FHA was racially motivated in violation of the FHA, 42 U.S.C. § 3604(b). Finally,

Defendants as alleged below have engaged in intentional infliction of emotion distress.

                                 JURISDICTION AND VENUE

       8.      JG, SP, and their minor children are intervening to protect their interests as aggrieved

persons in the action brought by the United States to enforce provisions of the Fair Housing Act and

Racketeering Influenced Corrupt Organizations Act.

       9.      This court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1343,

1345, and 1367; and 42 U.S.C. § 3612(o)(1).

                                           Page 3 of 72
       10.     The state claim alleged is so related to claims in the action that they form part of the

same case or controversy giving this Court supplemental jurisdiction over the claim pursuant to 28

U.S.C. § 1367(a).

       11.     Venue is proper in this district pursuant to 28 U.S.C. § 1391 and 42 U.S.C.

§ 3612(o)(1) because all or a substantial part of the events giving rights to the claims in this action

took place in the Northern District of Ohio.

                                               PARTIES

       12.     JG, SP, and their minor children, AP and MH, are and, all times relevant to the

Intervening Complaint, were residents of Trumbull County, Ohio who sought to participate in

Defendant TMHA’s housing voucher program.

       13.     JG, who has type-1 diabetes and end-stage renal disease, and one of the minor

children, who has learning disabilities and chronic enuresis, are persons with a disability as defined

by the FHA, 42 U.S.C. § 3602(h)(1) (The Act uses the term “handicap” instead of the term

“disability,” but both terms have the same meaning. The Intervening Complaint uses the term

“disability,” which is more generally accepted.); 24 C.F.R. §§ 100.20, 100.201.

       14.     SP and the other minor child are persons associated with persons with a disability for

purposes of the FHA. See 42 U.S.C. §§ 3604(f)(1)(C) & (f)(2)(C).

       15.     JG was first diagnosed with type 1 diabetes—an autoimmune disease which affects

the operation of the pancreas – at a young age. He was also diagnosed with end-stage renal disease

and placed on hemodialysis and later, home peritoneal dialysis treatments, substantially limiting his

major life activities related to kidney function, including the ability to remove toxins from the blood

and limiting his ability to urinate, ambulate, fight infections and work. JG is currently waiting for

both kidney and pancreas transplants.

                                            Page 4 of 72
       16.     Plaintiffs-Intervenors are aggrieved persons under the FHA, 42 U.S.C. § 3602(i); 24

C.F.R. § 100.20.

       17.     Defendant TMHA is and, at all times relevant to the Intervening Complaint, was a

body corporate and politic, created and existing under the Metropolitan Housing Authority Act, Ohio

Revised Code Chapter 3735, and a public housing authority in Trumbull County, Ohio that receives

federal financial assistance through an Annual Contributions Contract with HUD. TMHA uses this

funding, in part, to finance and administer a housing voucher program and federal Housing Choice

Voucher Program under § 8 of the United States Housing Act of 1937, 42 U.S.C. § 1473(f).

       18.     Defendants Osman and Simeon are individuals and, at all times relevant to the

Intervening Complaint, were TMHA’s Assistant Director and Voucher Program Coordinator,

respectively. In these capacities, Osman and Simeon were responsible for the administration of the

housing voucher program administered by TMHA in a manner that is consistent with federal and

state laws and regulations.

       19.     Defendant Delbene LaPolla & Thomas is an Ohio partnership and law firm with its

offices in Warren, Ohio. Delbene LaPolla & Thomas is, and for several years has been, the law firm

representing TMHA in personnel and other matters, and the law firm represented TMHA, Osman

and Simeon in connection with Plaintiffs-Intervenors’ housing discrimination complaint filed with

HUD.

                                  PROCEDURAL HISTORY

       20.     December 21, 2014, JG and SP submitted a housing discrimination complaint online

to HUD against TMHA and Simeon. The complaint was amended in July 2016 to add JG and SP’s

minor children as aggrieved parties and Defendant Osman as a respondent.



                                          Page 5 of 72
       21.     Pursuant to 42 U.S.C. § § 3610(a) and (b), the Secretary of HUD conducted an

investigation of JG and SP’s complaint, attempted conciliation without success, and prepared a final

investigative report.

       22.     Based on the information gathered in this investigation, the Secretary, pursuant to 42

U.S.C. § 3610(g)(1), determined that reasonable cause existed to believe that Defendants had

committed discriminatory housing practices. Therefore, on September 22, and September 23, 2016,

respectively, the Secretary issued a Determination of Reasonable Cause and Charge of

Discrimination, pursuant to 42 U.S.C. § 3610(g)(2)(A), charging that Defendants had engaged in

discriminatory practices, in violation of the Fair Housing Act.

       23.     On or about October 17, 2016, Plaintiffs-Intervenors formally elected to have the

charge heard in federal court, and on January 13, 2017, the Attorney General filed a civil action on

their behalf that identifies them as “JG, SP, and their minor children AP and MH” in order to protect

their privacy, as this matter involves sensitive medical information. (ECF no. 1 at 1, fn.1).

       24.     As aggrieved persons who have elected that the Attorney General commence and

maintain a civil action, JG, SP, and their minor children are entitled to intervene in this action as a

matter of right.

                                  GENERAL ALLEGATIONS

       JG and SP Apply for Housing Voucher

       25.     In February 2014, SP submitted an application as the head of the household to

participate in TMHA’s housing voucher program and Housing Choice Voucher Program under § 8

of the United States Housing Act of 1937, 42 U.S.C. § 1473(f). At that time, SP was the single

parent of two grade-school-aged children, AP and MH. TMHA reviewed her application and placed

her on the voucher program waiting list.

                                            Page 6 of 72
       26.     The Section 8 Housing Choice Voucher Program is a federal program wherein HUD

pays rental subsidies so eligible families can afford decent, safe and sanitary housing. This program

is authorized by Section 8 of the U.S. Housing Act of 1937, 42 U.S.C. §1437f(b)(1) and 24 C.F.R.

§982.1.

       27.     Under the Section 8 Housing Choice Voucher Program,

               a.      Families select and rent units that meet program housing quality standards,

                       24 C.F.R. § 982.1 (a)(2);

               b.      The Public Housing Authority (“PHA”) then reviews the decision and makes

                       a decision to approve a family's unit and tenancy; and

               c.      Once the tenancy has been approved, the PHA contracts with the owner to

                       make rent subsidy payments on behalf of the family. Id.

       28.     If the PHA wishes to terminate assistance on behalf of a participating family, it must

give the family the opportunity for an informal hearing before termination of housing assistance. 24

C.F.R. §982.555 (a)(v). A notice to terminate assistance must contain a brief statement of the reasons

for the decision and notification of the party’s right to an informal hearing. 42 U.S.C. §1437d(k), 24

C.F.R. §982.555 (c)(2)(i) and (ii).

       29.     The PHA and the family must be given the opportunity to present evidence, and may

question any witnesses. 42 U.S.C. §1437d(k), 24 C.F.R. §982.555(e)(5) (emphasis added).

       30.     The PHA is required to adopt written procedures for conducting informal hearings.

42 U.S.C. §1437d(k), 24 C.F.R. §982.555 (e)(6). The person who conducts the hearing shall issue

a written decision stating briefly the reasons for the decision. Factual determinations must be based

on a preponderance of the evidence presented at the hearing. Id. (emphasis added).



                                           Page 7 of 72
       31.     In April 2014, JG and SP were married. SP notified TMHA in June 2014 of the

marriage and requested that TMHA add JG to her pending application as head of household. She also

informed TMHA that JG received Supplemental Security Income (“SSI”)benefits, and that he would

begin receiving Social Security Disability Insurance (“SSDI”) in October 2014. She explained that

JG, who suffers from type-1 diabetes and end-stage renal disease, was awaiting kidney and pancreas

transplants, and was undergoing dialysis three times per week.

       32.     Receipt of either SSI or SSDI income is sufficient verification that an individual

qualifies as a person with disability.

       33.     Defendants are, and were since April 2014, aware that JG is a person with a disability

as defined by the FHA, 42 U.S.C. § 3602(h)(1).

       34.      On or about August 20, 2014, TMHA notified JG and SP that they had reached the

top of the waiting list, and on or about September 3, 2014, TMHA accepted JG and SP as

participants in the Housing Choice Voucher Program and issued them a Section 8 voucher for a two-

bedroom home, based on a household of two adults and two children.

       35.     JG and SP’s participation in the § 8 Housing Choice Voucher Program administered

by Defendants is a property interest protected by the requirement of procedural due process.

       36.     Around the same time, JG was approved to begin preparing to perform home

peritoneal dialysis treatments on himself. Home dialysis requires a separate space in the home, to

maintain the most sanitary conditions, as well as to store a large volume of dialysis equipment and

supplies.

       37.     Additionally, one of SP’s children has learning disabilities and enuresis, and because

of these disabilities, this child requires a quiet space for schoolwork, and disrupts the sleep of the

other child if they are sharing a bedroom.

                                             Page 8 of 72
       TMHA Issues Voucher to J.G. and S.P. for Four Bedroom House

       38.     Given the needs for additional space due to JG’s and one of her children’s disabilities,

SP requested as a reasonable accommodation that TMHA increase their Section 8 voucher from two

bedrooms to four bedrooms. On or about September 5, 2014, she provided TMHA with Verification

of Need forms signed by a licensed social worker at JG’s dialysis center, and by the physician of the

minor child with disabilities.

       39.     Defendants are, and were since September 2014, aware that one of SP’s minor

children is a person with a disability as defined by the FHA, 42 U.S.C. § 3602(h)(1).

       40.     Defendants are, and were since September 2014, aware that SP and the other minor

child are persons associated with persons with a disability for purposes of the FHA, 42 U.S.C.

§§ 3604(f)(1)(C) & (f)(2)(C).

       41.     After TMHA received these Verifications of Need forms on or about September 5,

2014, it made reasonable accommodation and issued JG and SP an amended voucher for a four-

bedroom home.

       42.     During the HUD investigation, Simeon acknowledged that she received the two

completed, signed Verification of Need Forms from SP. When questioned about the reason for the

voucher increase, Simeon told the HUD investigator that SP submitted the two Forms for JG and

their child which substantiated their need for separate bedrooms, and as a result, Simeon approved

the request.

       43.     The HUD investigation did not turn up an evidence suggesting that, in September

2014, Defendants questioned either JG’s or the child’s September 2014 Verification of Need Forms

before approving Plaintiffs-Intervenor’s reasonable accommodation request for a four-bedroom



                                           Page 9 of 72
voucher. Likewise, the HUD investigation did not turn up any evidence that Defendants required or

requested additional medical information prior to granting that reasonable accommodation request.

       JG and SP Select Three-Bedroom Merriweather House

       44.     On or about September 17, 2014, JG and SP informed TMHA that they had found

a house to rent, on Merriweather Street in Warren. The Merriweather house was a three-bedroom

home, but it had an additional room on the lower level or basement, which JG and SP planned to use

for JG’s home dialysis. The basement space could not be closed off from the rest of the common

family areas, had no door, and is partially below grade. This lower level is connected to the drive-

under garage where home’s laundry appliances were located.

       45.     As part of the voucher program process, TMHA inspected the Merriweather house

to determine whether it was eligible for rental assistance.

       46.     As part of the voucher program process, TMHA inspected the Merriweather house

to determine whether it was eligible for rental assistance. , Respondent TMHA's 2014 Administrative

Plan, Chapter 10(B), addresses HQS Inspections and related policies. The policy, in pertinent part,

states: “Once the unit has had an initial inspection the family must take this unit unless the landlord

fails to correct the items noted on the inspection list.”

       47.     Federal guidelines require that properties must meet basic health and safety

requirements, such as adequate heat, water supply, illumination, and food preparation facilities. The

inspection is not designed to evaluate whether a property is suitable for a potential resident’s

particularized needs, such as home dialysis. TMHA’s inspection report described the Merriweather

house as having three “sleeping rooms,” all on the “2nd floor level,” and a “den” on the “B floor

level.” The daughter of the owner of the Merriweather home disputed this characterization and

insisted that the space was not a “den”, but rather “the basement.”

                                            Page 10 of 72
         48.   On September 29, 2014, TMHA conducted and passed an inspection of the

Merriweather home.

         JG and SP Learn Merriweather House is Not Suitable and Seek Approval of Four-
         Bedroom Atlantic House

         49.   Although the Merriweather home was a three-bedroom, rather than a four-bedroom

home, JG and SP planned to use the below-grade living space in the basement for JG’s dialysis

treatments. However, sometime before September 29, 2014, they described the configuration of the

Merriweather home to a licensed “master's level” social worker employed by JG’s dialysis center.

The social worker’s job includes counseling patients on compliance issues with treatments, such as

taking medication and issues concerning the cleanliness of a patient's home. She told JG and SP that

the below-grade space at the Merriweather home was not appropriate for JG’s disability–related

needs.

         50.   According to the dialysis center’s website, and, on information and belief, medical

industry standards, to perform peritoneal dialysis at home, a patient requires a clean and well-lit

room or other area that can be closed off. The dialysis center also recommends that a patient have

enough dry space to store a month's worth of supplies. In JG’s case, one month’s supplies consisted

of approximately 40 boxes of various dialysis implements. According to the Home Visit Checklists

used by the dialysis center’s Home Training Nurse, the treatment site is evaluated for the type of

dwelling, the community environment, proximity to hospital and a bathroom, sewage system, water

supply, cleanliness, appropriate electrical, heating and cooling systems, adequate lighting and space

for storage, an appropriate work surface, inaccessibility to children and pets, and closeable doors.

         51.   The below– grade space in the Merriweather home lacked closeable door to separate

the space from common areas of the home and JG and SP’s children. Additionally, the home’s


                                          Page 11 of 72
laundry appliances were located in the garage· which would likely increase foot traffic through the

basement space. These conditions threatened the cleanliness of the space.

        52.    Shortly after JG and SP learned from the social worker that the basement level area

of the Merriweather home was not a suitable space to perform at-home dialysis treatment, JG and

SP located alternate housing – a four-bedroom home-located on Atlantic Street in Warren that was

suitable for both JG’s and the minor child’s disability-related needs.

        53.    On or about September 29, 2014, JG and SP notified TMHA via a hand-delivered

letter, dated September 29, 2014, that the basement in the Merriweather home was not a suitable area

for JG’s at-home dialysis treatments. The letter outlined concerns about the Merriweather house, and

stated that it would be beneficial for JG to live in a home with a room devoted exclusively for his

dialysis.

        54.    In the letter dated September 29, 2014, SP requested, as a reasonable accommodation,

the issuance of new paperwork to rent a different home that SP and JG had located on Atlantic Street

in Warren, a four-bedroom home that would be more suitable for their disability-related needs. SP

stated that the first floor bedroom at the Atlantic home was ideal for JG’s treatment as it was separate

from the other bedrooms, it was a private space with a door, it included a closet for his medical

equipment, it was adjacent to a bathroom and it included a ceiling fan.

        55.    When SP delivered her reasonable accommodation request letter to TMHA on

September 29, 2014, she spoke with Defendant Simeon, who admitted during the HUD investigation

that she informed SP to sign the paperwork for the Merriweather home, live there for one year, and

then find another place.




                                            Page 12 of 72
       56.     The following day, on September 30, 2014, SP sent two electronic mail messages to

Respondent Osman. In her emails, SP again requested new paperwork and explained that JG and SP

were new to home dialysis treatment and had learned that the Merriweather basement was not

suitable for JG’s at–home treatments. SP also “stated that her elder daughter had learning disabilities

aud a kidney problem, both of which disrupt the sleep of the younger daughter. SP concluded both

emails with a request for new paperwork to secure the Atlantic house.

       57.     On September 30, 2014, JG and SP also visited TMHA and hand–delivered a letter,

addressed to TMHA, from the social worker at JG’s dialysis center. This letter includes the following

language: “Mr. [Doe] will be starting Peritoneal Dialyses soon. Mr. [Doe] has been on dialysis since

April 2014 and is in End Stage Renal Disease. For Mr. [Doe] to do this, it is important for him to

have a room dedicated to doing his dialysis and storing his supplies. The house that Mrs. [Doe]

spoke of, where he would be in the basement off of the garage is not a good situation for him to be

in. He needs a place that is clean and separate from a common area for the family. It could be

difficult to move the machine and the supplies in and out of the basement. A house were Mr. [Doe]

would have a room devoted to his performing dialysis and store supplies would be most beneficial

for our patient. If you have any questions, please feel free to call me[.]”

       58.     Despite receipt of SP’s September 30, 2014 emails and the social worker’s letter,

Defendants again informed JG and SP that TMHA’s policy requires a family to lease a selected

rental unit once the unit passes an inspection.

       59.     Notwithstanding TMHA’s policy requiring a family to lease a selected rental unit

once the unit passes an inspection, Defendants admitted during the HUD investigation that the

                                           Page 13 of 72
aforementioned policy could be waived, as it is not a HUD requirement and also confirmed that

exceptions have been made, in the past, to this policy. Defendants, for example, stated that a landlord

may change his or her mind and withdraw from the transaction, or an inspection can occur at the

wrong address. In those cases, where the presence of a disability is not a factor, Defendants reissue

new paperwork to voucher holders in order to obtain alternative housing.

          60.   Defendants did not assert that waiving policy requiring a family to lease a selected

rental unit once the unit passes an inspection in Plaintiffs-Intervenors’ case. Similarly, Defendants

did not make this assertion in eighteen other cases discovered during the HUD investigation.

Defendants also did not assert that waiving the policy for Plaintiffs-Intervenors would result in or

constitute an undue financial or administrative burden.

          61.   JG and SP rejected the Merriweather home for disability-related reasons after

consulting with JG’s medical care providers, not because they changed their mind for some other

reason.

          62.   On October 1, 2014, Defendants Osman and Simeon exchanged emails about the

issues raised in the social worker’s letter, in which Simeon noted that TMHA policies provided that

“once the unit has had an initial inspection the family must take this unit unless the landlord fails to

correct” any problems discovered during the inspection. Simeon acknowledged, “I don’t know

anything about home dialysis and what all it entails;” nonetheless, despite the social worker’s letter

stating that the Merriweather home was not suitable, Simeon wondered why JG couldn’t make the

house work for his needs and told Osman that allowing the family to seek another home “would be

your call.”

          63.   In the email exchange between Simeon and Osman on October l, 2014, there is no

mention that the social worker’s September 30, 2014 letter – recommending a private and clean

space for JG – was not acceptable because she was a social worker, and not a physician.

                                            Page 14 of 72
       TMHA, Osman and Simeon Refuse to Make Reasonable Accommodations or Approve
       Atlantic House
       64.    During an investigation of this matter by HUD, Osman and Simeon acknowledged

that they ultimately made the decision not to waive the TMHA policy requiring applicants to move

into a home once it has been inspected, and that they recommended terminating JG and SP’s voucher

assistance for their failure to comply with this policy. They also acknowledged that the policy could

have been waived and that TMHA had made exceptions to this policy in the past.

       65.     On or about October 2, 2014, JG wrote a letter to Defendant Osman repeating his

need for a separate bedroom for dialysis. He also informed TMHA that he and SP had found another

house with four bedrooms which they wanted to rent with their four-bedroom voucher.

       66.     Some of JG and SP’s extended family members also unsuccessfully lobbied

Defendants in support of JG and SP’s reasonable accommodation request.

       67.     On October 3, 2014, Osman and TMHA terminated Plaintiffs-Intervenors’ voucher

assistance, and on October 6, 2014, TMHA sent JG and SP a letter stating that their voucher

assistance had been terminated as of October 3, 2014 because they had “failed to sign documents and

move into [a] unit that had passed inspection.”

       68.     Defendants, upon information and belief, did not conduct any hearing prior to or in

connection with the decision to terminate Plaintiffs-Intervenors’ voucher assistance.

       69.      TMHA’s letter of October 6, 2014 was intentionally false and materially misleading

because in violation of TMHA’s policy in its Administrative Plan, the letter did not contain a

statement explaining to JG and SP their family’s right to appeal the termination and it failed to

include instructions regarding Plaintiffs-Intervenors’ right to request an informal review of the

decision terminating their voucher assistance as is required by both HUD regulations and

Respondent TMHA policy.

                                          Page 15 of 72
       70.     TMHA’s October 6, 2014 letter to JG and SP merely advised them that they may

reapply for the voucher program when the waiting list reopens. At the time of the effective date of

the termination, JG and SP’s voucher for a four bedroom house had thirty days remaining until its

expiration.

       71.     On October 8, 2014, JG and SP wrote to Defendant Simeon, asking her to reconsider

the termination of their voucher and stating that the four-bedroom home they had found was still

available. They also attached a letter dated October 8, 2014 from JG’s nephrologist, stating that “to

perform peritoneal dialysis safely, it is our recommendation that [the] patient have a clean room in

his house designated solely for that purpose.”

       72.     TMHA refused to reconsider its termination of JG and SP’s voucher for a four

bedroom house.

       73.     As a result of the termination of their voucher assistance, JG, SP and their children

were forced to split up and live separately. JG had to go reside with his father in Youngstown and

SP and the minor children were forced to live twenty miles away with SP’s grandmother in Warren.

       74.     The distance between JG and SP meant she often was not able to assist him with his

dialysis and other medical needs, and his health declined dramatically. When JG began his at-home

dialysis treatment at his father’s home it was oftentimes without the assistance of his wife, SP.

       75.     SP and her children shared a small bedroom and had to alternate sleeping on the floor

at night. The bedroom had no door and provided virtually no space for belongings. An uncle also

resided at the grandmother’s house during this time, and he suffered from mental issues for which

he sometimes took medication and sometimes not. The uncle would frequently keep SP and her

children awake during the night with loud cursing and making threats against SP. Fearing for her



                                          Page 16 of 72
children’s safety, SP on many occasions would find rides to a friend’s houses, often in the middle

of the night, to find a safe place for her children to sleep for the night.

        76.     While the family was separated and living miles apart, JG and SP’s child with

disabilities did not make any improvements in school. The tumultuous living circumstances deprived

the children of any stability needed for succeeding in school. Instead, JG and SP’s children suffered

from tiredness in the mornings from disrupting and often sleepless nights.

        77.     SP’s inability to provide her children with a stable home and one free from constant

disruptions took its toll on her mentally and physically. She fell into depressions and was compelled

to seek counseling to deal with thoughts of self-doubt and suicide. SP’s deplorable situation even

prompted her to consider whether to put her children up for adoption because of SP’s feeling that

she would never be able to provide them with the stability and home life they needed.

        78.     SP tried to deal with her situation with medical treatment and medications to

overcome her serious levels of stress and anxiety. SP’s separation from JG served to increase her

anxiety and stress over the entire situation. Her perception of life and her community changed for

the worse and these circumstances impacted her marriage. SP had to confront daily feelings of being

trapped by a government agency that was supposed to be helping her, and her grandmother

frequently would have to talk SP out of calling 911 and she would stay up with SP to calm her down.

        79.     On or about January 7, 2015, TMHA reopened its waiting list.

        80.     On February 19, 2015, JG and SP reapplied with TMHA to participate in the housing

voucher program. At the time of reapplication, the family was still living in separate homes.

        JG and SP File Housing Discrimination Complaint with HUD

        81.     On or about December 21, 2014, JG and SP filed an online complaint of

discrimination with HUD, which was amended on November 30, 2015 and July 25, 2016, and

                                            Page 17 of 72
alleged that by denying their request for a reasonable accommodation to TMHA’s policy requiring

them to rent the Merriweather house once it had been inspected, Defendants had violated sections

804(f)(l), 804(f)(2), and 804(f)(3)(B) of the FHA.

       82.     On March 5, 2015, according to the United States Postal Service’s certified mail

tracking records, TMHA received a Notification of Complaint letter from HUD at 1:53 p.m. HUD’s

letter did not disclose the identity of the complainants.

       83.     On or about March 18, 2015, Defendants issued JG, SP and their minor children a

two-bedroom voucher.

       84.     When Defendants issued the two-bedroom voucher in March 2015, there was some

confusion as JG and SP were unaware that they had only received a two-bedroom voucher as they

had previously been approved, as a reasonable accommodation, for a four bed-room voucher in

September 2014.

       85.     On March 27, 2015, according to the United States Postal Service’s certified mail

tracking records, TMHA received a second Notification of Complaint letter from HUD at 12:09

p.m., that included a copy of the housing discrimination complaint that identified SP as the

complainant.

       Defendants Learn of Housing Discrimination Complaint and Retaliate, Threaten,
       Intimidate, and Coerce

       86.     On March 27, 2015, the same say that Defendants received a copy of the housing

discrimination complaint from HUD identifying SP as the complainant, Defendant Simeon prepared

a Verification of Need Form for JG’s signature and addressed to his medical provider at the dialysis

center. Instead of asking JG sign the form, Simeon filled out the March 27, 2015 Verification of

Need Form by attaching the signature page from JG’s executed HUD-9886 Form, previously signed


                                           Page 18 of 72
on March 18, 2015. The HUD-9886 Form is completely unrelated to the Verification of Need Form

and was not authorized for use for this purpose.

       87.     HUD’s verification guidance for Public Housing and Housing Choices Voucher

Programs published in March 2004 confirms that HUD-9886 Form is solely used to obtain income

information and it expressly prohibits the use of the form to obtain any other information.

       88.     Misusing HUD 9886 Form to obtain information under false pretenses is a crime.

The signature page of HUD 9886 Form, in relevant part, states: “Use of the information collected

and based on the HUD 9886 is restricted to the purposes cited on the form HUD 9886. Any person

who knowingly or willfully requests, obtains, or discloses any information under false pretenses

concerning an applicant or participant may be subject to a misdemeanor and fined not more than

$5,000.

       89.     Simeon intended to mislead JG’s dialysis center and create the false pretense that JG

had signed the March 27, 2015 Verification of Need Form when she attached the signature page from

an unrelated HUD-9886 Form that JG signed more than a week earlier when, in fact, JG had not

signed the Verification of Need Form and knew nothing about it.

       90.     Defendants knew or should have known that JG did not sign the March 27, 2015

Verification of Need Form and that the Form was sent to JG’s dialysis center without Plaintiffs-

Intervenors’ knowledge or consent.

       91.     The HUD investigation revealed that Simeon filled out JG’s March 27, 2015

Verification of Need Form she used a different version of the form than those previously used by

TMHA in September 2014. The March 2015 version was intended by Defendants to mislead by the

inclusion of additional language – which was not included on the 2014 Verification of Need Form



                                          Page 19 of 72
– that cites, at the bottom of the form, to 18 U.S.C. § 1001 and provides the following statement:

“Title 18, Section 1001 of the U.S. Code states that a person is guilty of a felony of knowingly and

willingly making false or Fraudulent statements to any department of the United States

Government.”

       92.     Simeon added the language from 18 U.S.C. § 1001 to the March 27, 2015

Verification of Need Form in retaliation for, and to interfere with, the housing discrimination

complaint that JG and SP filed with HUD.

       93.     Defendants intended to communicate to JG’s medical providers at the dialysis center

the false pretense that 18 U.S.C. § 1001 applied to medical information supplied in response to a

Verification of Need Form that Defendants knew had not been signed by JG but which they intended

to falsely present as signed by JG by attaching his signature from another, unrelated document.

       94.     During the HUD investigation, Defendants produced an October 2, 2015 Verification

of Need Form for another voucher applicant with a disability (J.B.), that does not include the

statutory language referencing 18 U.S.C. § 1001. J.B.’s Verification of Need Form provides the

following justification for an extra bedroom: “[s]he needs [e]tra room to store medical supplies [and]

equipment.” Defendants granted J.B.’s request for an additional bedroom.

       95.     Despite the absence of any pending reasonable accommodation request for an increase

in JG and SP’s voucher size when Simeon filled out the March 27, 2015 Verification of Need form,

she wrote to JG’s medical provider at the dialysis center inquiring as to special features.

       96.     Simeon prepared the March 27, 2015 Verification of Need Form in retaliation for,

and to interfere with, the housing discrimination complaint that JG and SP filed with HUD. The

                                           Page 20 of 72
complaint challenged as unlawful Defendants’ failure to make reasonable accommodations and

approve Plaintiffs-Intervenors for the four-bedroom Atlantic house.

        97.     Simeon and the other Defendants realized that the phrase “designated solely for that

purpose” in the October 8, 2014 letter from JG’s nephrologist provided JG and SP with significant

support for their discrimination claim. Specifically, the doctor stated in his letter of October 8th that

“to perform peritoneal dialysis safely, it is our recommendation that [the] patient have a clean room

in his house designated solely for that purpose.” The Defendants knew that if they could convince

JG’s doctor to rewrite his recommendation without the phrase “designated solely for that purpose”,

then their chances of defending against the claim of discrimination for failing to make reasonable

accommodations would tip in Defendants’ favor.

        98.     After they received JG and SP’s complaint, Defendants knew that they needed direct

access to JG’s nephrologist and medical providers at the dialysis center without JG or SP’s

knowledge or interference and secure the best opportunity to persuade the doctor to change his

recommendation in their favor.

        99.     Defendants also realized that JG’s doctor could more easily be persuaded to change

his recommendation if faced with the threat of a felony for making a false or fraudulent statement

to HUD.

        100.    Simeon prepared the March 27, 2015 Verification of Need Form with a dummied up

signature page so that Defendants could secure access to JP’s doctor and medical providers at the

dialysis center without JP’s knowledge, and additional language from 18 U.S.C. § 1001 to put the

doctor under a threat sufficient to persuade him to change his recommendation and eliminate the

phrase “designated solely.”



                                            Page 21 of 72
       TMHA and Simeon Violate JG’s Privacy Rights and Intimidate His Nephrologist With
       the Threat of a Federal Felony

       101.    TMHA and Simeon mailed the March 27, 2015 Verification of Need Form and its

false pretenses to JP’s dialysis center without his knowledge or consent and with intent to deceive.

       102.    On April 6, 2015, Simeon had an unauthorized conversation with a registered nurse

and Home Treatment Program Manager at the dialysis center by telephone. Simeon did not inform

the nurse that JG had not signed the March 2015 Verification of Need Form and Simeon knew the

nurse was speaking to her on the false pretense and mistaken belief that JG had signed the form and

consented to disclosure of his medical information. JG, in fact, was unaware that Simeon was having

direct communication with the dialysis center staff concerning his medical condition and need for

an additional bedroom, and he had not provided any release for such conversation.

       103.    During the unauthorized telephone call with Simeon on April 6, 2015, the nurse and

Home Treatment Program Manager advised Simeon that JP’s nephrologist was going to send TMHA

the same letter he previously sent on October 8, 2014. Simeon responded by having an unauthorized

discussion about JP’s reasonable accommodation request – without his knowledge or consent – with

the nurse. This discussion led the nurse ultimately to capitulate to Simeon that JG did not need a

separate bedroom for “taking his dialysis;” rather “he just needed a clear area.” Simeon confirmed

during the HUD investigation that she did not ask the nurse at the dialysis center about the supply,

delivery, or storage logistics which were also components that formed the basis of JG’s need for

different housing as noted the nurse’s September 30, 2014 letter to TMHA.

       104.    On April 9, 2015, JG’s dialysis center mailed the nephrologist’s previous letter of

October 8, 2014 to Defendants as JG’s circumstance remained unchanged. According to the nurse

and Home Treatment Program Manager, Simeon made unauthorized contact with the dialysis center


                                          Page 22 of 72
on April 13, 2015 by telephone to advise that the nephrologist’s letter now conflicted with the

nurse’s verbal opinion given over the telephone on April 6, 2015. Simeon requested a new letter

dated within 90 days. Simeon did not inform the dialysis center staff member with whom she spoke

that JG had not signed the March 2015 Verification of Need Form and Simeon knew the staff

member was speaking to her on the false pretense and mistaken belief that JG had signed the form

and consented to disclosure of his medical information.

          105.   During the HUD investigation, JG provided the HUD investigator with a marked-up

copy of the nephrologist’s October 8, 2014 letter that he obtained from his patient file at the dialysis

center.

          106.   The mark-ups on the nephrologist’s October 8, 2014 letter indicate that the date of

the letter needed to be within 90 days, and the phrase “designated solely” was scratched out. An

arrow on the letter then points to handwritten notes that state: “Conflicts with was told previously.

Not need own room or as long as clean and wife with him.”

          107.   The last mark-up on the October 8, 2014 letter is Simeon’s phone and fax numbers.

According to the nurse and Home Treatment Program Manager at the dialysis center, these mark-ups

were made by a secretary at the dialysis center during the April 6, 2015 phone call she had with

Simeon.

          108.   On or about April 20, 2015, as a result of unauthorized conversations with JG’s

medical providers at the dialysis center, Defendants received a revised letter from JG’s nephrologist

and the letter was changed to state, in relevant part, “To be able to perform peritoneal dialysis safely,

it is our recommendation that patient have a clean room in his house for that purpose.”

          109.   The nurse and Home Treatment Program Manager at JG’s dialysis center, during the

HUD investigation, explained that she dictated the March 27, 2015 Verification of Need Form to

                                            Page 23 of 72
JG’s doctor, which she verified included 18 U.S.C. § 1001 and the language about fraudulent

statements. She also acknowledged that the referenced statutory code and related language on the

March 27, 2015 Verification of Need Form, in her opinion, influenced the doctor’s decision to revise

his previous October 8, 2014 letter.

       110.    On or about May 27, 2015 after JG and SP realized they had only received a two-

bedroom voucher in March 2015, their lawyer sent Defendant Osman an email requesting a

reasonable accommodation for a three-bedroom voucher.

       111.    On or about May 28, 2015, in response to JG and SP’s reasonable accommodation

request for a three bedroom voucher, Defendant Osman informed their attorney by email that SP

“must provide a Physicians [sic] name and address so that we can send a form to verify the need.”

Osman’s statement was false and intended to deceive and create a false impression because he did

not disclose that Defendants were already in contact with JG’s doctor about his need for reasonable

accommodation, and because Defendants knew the names of JG’s and the child’s respective doctors

and address, were already in contact with JG’s doctor about his need for reasonable accommodation,

and had a practice of sending Verification of Need forms under false pretenses to verify a

participant’s need for reasonable accommodation.

       112.    Around this time or shortly thereafter, SP asked JG’s medical providers at the dialysis

center if they had heard from Defendants in connection with a reasonable accommodation request

for a three-bedroom voucher. The medical providers told SP and JG that TMHA and Simeon had

been contacting the dialysis center since March 2015 and SP and JG were subsequently provided for

the first time with knowledge and a copy of the March 27, 2015 Verification of Need Form.

       113.    After SP learned of the unauthorized March 27, 2015 Verification of Need Form that

Defendants sent to the dialysis center, she contacted the HUD investigator in Cleveland and

                                          Page 24 of 72
informed the investigator of TMHA’s use of false Verification of Need Forms with dummied–up a

signature page as well as Defendants’ unauthorized contact and communication with JG’s medical

providers.

       114.    HUD took the information supplied by SP and, upon information and belief,

contacted TMHA, as well as TMHA’s lawyers, Delbene Lapolla & Thomas, and demanded that

TMHA put an end to all of its fraudulent and misleading actions taken in retaliation of JG and SP’s

housing discrimination complaint filed with HUD.

       115.    The lawyers at Delbene Lapolla & Thomas, from the law firm’s years of representing

TMHA, were aware of and familiar with TMHA, Osman, and Simeon’s operation and administration

of the housing voucher program. From its representation of TMHA, as well as communications from

the HUD investigator in 2015, Delbene Lapolla & Thomas were aware of TMHA’s practice, and

Simeon’s decision here, of misusing Verification of Need Forms and HUD 9886 Forms to gain

unauthorized access to voucher program participants’ medical providers and medical information

using false pretenses and a scheme to defraud.

       116.    Similarly, from its representation of TMHA, Delbene Lapolla & Thomas had

knowledge and was aware of TMHA, Osman, and Simeon’s decision to notify Plaintiffs-Intervenors

of their termination from the Section 8 voucher program without notifying them of their right to an

informal hearing as required by federal law and TMHA’s policies.

       117.    Instead of withdrawing from representing TMHA because of TMHA, Osman, and

Simeon’s misuse of federal forms, practice of using false pretenses and schemes to defraud, and

failure to properly notify voucher program participants of their rights, Delbene Lapolla & Thomas

chose to join and participate in this misuse of federal forms and practice of using false pretenses and



                                           Page 25 of 72
schemes to defraud to gain unauthorized access to medical information and TMHA, Osman, and

Simeon’s failure to notify voucher participants of their rights.

       118.    On or about June 15, 2015, because JG and SP’s two-bedroom voucher was set to

expire on June 16, 2015 and a request was made to extend the voucher, Osman communicated with

the HUD investigator by email and informed the investigator that JG and SP could have an

additional 30 days, however, he also stated that “we are still in need of medical verification as this

is a new voucher.”

       119.    Subsequently, Simeon consulted with HUD’s Office of Public Housing and

Defendants ultimately increased JG and SP’s two-bedroom voucher and reissued them a voucher for

three bedrooms.

       120.    On June 15, 2015, Osman communicated with the HUD investigators, Simeon, and

Delbene Lapolla & Thomas by email and advised them that “[p]er a discussion with Siri Ott of the

HUD Cleveland office regarding clean area vs clean rooms, TMHA has issued a new 3 bedroom

voucher for [JG and SP]. It will expire in 60 days.” Later that day, the HUD investigator sent an

email to Osman, Delbene Lapolla & Thomas, and Simeon stating, “Thank you, Mr. Osman. I will

relay to [Plaintiffs-Intervenors’] counsel.”

       121.    On June 15, 2015, the HUD investigator communicated with JG and SP’s attorney

and SP by email and advised, “I was able to get the Office of Public Housing to intercede. As a result

TMHA has agreed to issue a new voucher for 3 bedrooms. Please relay to [SP.]”

       122.    The HUD investigator stayed in contact with Delbene Lapolla & Thomas during this

time. In a June 15, 2015 email to SP and her attorney, the HUD investigator stated that “As I

explained to TMHA’s counsel last week, this [new three-bedroom voucher] was an effort to get



                                           Page 26 of 72
TMHA to mitigate any potential future damage and to preserve [Plaintiffs-Intervenors’] participation

in the voucher program.”

        123.    On September 1, 2015, JG and SP used their voucher to rent a three-bedroom home

located in Warren.

        124.    In the eleven months the family lived apart, JG was hospitalized on at least four

occasions and twice contracted dialysis-related infections, which ultimately required that he return

to in-clinic dialysis on August 25, 2015.

        125.    The inability to live together also took a heavy emotional and physical toll on JG and

SP and the children and caused strain to the marriage and life as a family. JG and SP had to wait over

four months for TMHA’s waiting list for housing to reopen.

                                      CAUSES OF ACTION

                                      COUNT ONE
                   Constitutional Rights Pursuant to 42 U.S.C. § 1983
                 Violation of Fourteenth Amendment Due Process Rights
     (Against Defendants TMHA and Osman and Simeon, in their Official Capacities)

        Plaintiffs-Intervenors JG, SP, and their minor children AP and MH, for Count One of their

Intervening Complaint, allege:

        126.    Plaintiffs-Intervenors re-allege and incorporate by reference as if re-alleged in

paragraph 126 all other allegations in this Intervening Complaint.

        127.    Plaintiffs-Intervenors’ claims in Count One arise under 42 U.S.C. § 1983, which

creates a cause of action against any person who, acting under color of state law, abridges “rights,

privileges, or immunities secured by the Constitution and laws” of the United States. Id. Private

individuals may bring lawsuits to enforce not only constitutional rights but also rights created by

federal statutes.


                                            Page 27 of 72
       128.    Defendants TMHA, Osman, and Simeon have deprived Plaintiffs-Intervenors of

federally subsidized housing under the Housing Choice Voucher Program without due process of

law in violation of the Fourteenth Amendment to the United States Constitution by depriving them

of a hearing and an opportunity to confront and cross-examine witnesses used by Defendants TMHA

and Osman to form the basis of the decision to terminate their participation in October 2014.

       129.    These Defendants, by their actions described herein, violated clearly established law.

       130.    As a direct and proximate result of the illegal conduct or actions of these Defendants,

JG, SP, and the minor children AP and MH have suffered injury and damages and experienced

emotional pain, suffering, mental anguish, embarrassment, humiliation, loss of enjoyment of life,

aggravation of disabilities, and increased endangerment of life.

       131.    Defendants TMHA, Osman, and Simeon’s conduct was motivated by evil motive or

intent and involves reckless or callous indifference to Plaintiffs-Intervenors’ federally protected

rights and supports an award of punitive damages.

       WHEREFORE, Plaintiffs-Intervenors pray this Court to enter judgment in their favor and

for the following relief:

       A.      Declare that Defendants’ policies, practices, and conduct utilized for terminating

               Plaintiffs-Intervenors from the § 8 Housing Choice Voucher Program as alleged

               herein, are unlawful;

       B.      Declare that Defendants’ acts and omissions as described above violate the

               Fourteenth Amendment of the United States Constitution;

       C.      Issue a permanent injunction forbidding Defendants, their agents, employees, and all

               persons acting in concert or participation with any of them from terminating



                                          Page 28 of 72
               Plaintiffs-Intervenors’ § 8 housing voucher prior to offering notice and an

               opportunity for a hearing;

       D.      Award Plaintiffs-Intervenors actual and compensatory damages in an amount to be

               determined at trial;

       E.      Award Plaintiffs-Intervenors punitive damages;

       F.      Award Plaintiffs-Intervenors prejudgment interest, post- judgment interest;

       G.      Award Plaintiffs-Intervenors their fees, costs, and attorney’s fees available under the

               law; and

       H.      Grant such other relief as is just.

                                       COUNT TWO
                     Constitutional Rights Pursuant to 42 U.S.C. § 1983
                   Violation of Fourteenth Amendment Due Process Rights
                   (Against Defendants Osman and Simeon, Individually)

       Plaintiffs-Intervenors JG, SP, and their minor children AP and MH, for Count Two of their

Intervening Complaint, allege:

       132.    Plaintiffs-Intervenors re-allege and incorporate by reference as if re-alleged in

paragraph 132 all other allegations in this Intervening Complaint.

       133.    Plaintiffs-Intervenors’ claims in Count Two arise under 42 U.S.C. § 1983.

       134.    Defendants Osman and Simeon have deprived Plaintiffs-Intervenors of federally

subsidized housing under the Housing Choice Voucher Program without due process of law in

violation of the Fourteenth Amendment to the United States Constitution by depriving them of a

hearing and an opportunity to confront and cross-examine witnesses used by Defendants TMHA and

Osman to form the basis of the decision to terminate their participation in October 2014.




                                            Page 29 of 72
       135.    As a direct and proximate result of the illegal conduct or actions of these Defendants,

JG, SP, and the minor children AP and MH have suffered injury and damages and experienced

emotional pain, suffering, mental anguish, embarrassment, humiliation, loss of enjoyment of life,

aggravation of disabilities, and increased endangerment of life.

       136.    Defendants Osman and Simeon’s conduct was motivated by evil motive or intent and

involves reckless or callous indifference to Plaintiffs-Intervenors’ federally protected rights and

supports an award of punitive damages.

       WHEREFORE, Plaintiffs-Intervenors pray this Court to enter judgment in their favor and

for the following relief:

       A.      Declare that Defendants’ policies, practices, and conduct utilized for terminating

               Plaintiffs-Intervenors from the § 8 Housing Choice Voucher Program as alleged

               herein, are unlawful;

       B.      Declare that Defendants’ acts and omissions as described above violate the

               Fourteenth Amendment of the United States Constitution;

       C.      Issue a permanent injunction forbidding Defendants, their agents, employees, and all

               persons acting in concert or participation with any of them from terminating

               Plaintiffs-Intervenors’ § 8 housing voucher prior to offering notice and an

               opportunity for a hearing;

       D.      Award Plaintiffs-Intervenors actual and compensatory damages in an amount to be

               determined at trial;

       E.      Award Plaintiffs-Intervenors punitive damages;

       F.      Plaintiffs-Intervenors prejudgment interest, post- judgment interest;

                                            Page 30 of 72
       G.      Award Plaintiffs-Intervenors their fees, costs, and attorney’s fees available under the

               law; and

       H.      Grant such other relief as is just.

                                       COUNT THREE
                       Constitutional Rights Pursuant to 42 U.S.C. 1983
                                Negligent Hiring and Training
                                 (Against Defendant TMHA)

       Plaintiffs-Intervenors JG, SP, and their minor children AP and MH, for Count Three of their

Intervening Complaint, allege:

       137.    Plaintiffs-Intervenors re-allege and incorporate by reference as if re-alleged in

paragraph 137 all other allegations in this Intervening Complaint.

       138.    Plaintiffs-Intervenors’ claims in Count Three arise under 42 U.S.C. § 1983.

       139.    Upon information and belief, it is customary for Osman and Simeon, as well as other

officials at TMHA, to deprive persons who are terminated from participating in the Section8 voucher

program of their rights to Due Process even though that custom and practice has not received formal

approval through TMHA’s official decision-making channels.

       140.    Upon information and belief, such conduct at TMHA practices at the housing

authority so permanent and well–settled as to constitute a custom or usage with the force of law.

       141.    TMHA had actual or constructive knowledge of and acquiesced in the

unconstitutional custom or practice of depriving persons who are terminated from participating in

the Section8 voucher program of their rights to Due Process, and such knowledge and acquiescence

and failure to train against such custom or practice is the predicate for a finding of an

unconstitutional policy or custom at TMHA.




                                           Page 31 of 72
       142.    Upon information and belief, TMHA inadequately trains its employees against

depriving participants who are terminated from the Section8 voucher program of their rights to Due

Process in violation of the Fourteenth Amendment, and TMHA’s failure to train amounts to

deliberate indifference to the rights of these persons and establishes TMHA as the moving force

behind these continued and pervasive constitutional violations.

       143.    The constitutional duty to provide persons who are terminated from participating in

TMHA’s Section 8 voucher program is a clear constitutional duty implicated in recurrent situations

that TMHA employees who administer the program are certain to face, and failure to inform and

train those employees of that duty will create a high risk that constitutional violations will ensue.

       144.    Upon information and belief, the pattern of unconstitutional conduct at TMHA of

depriving persons who are terminated from participating in the Section8 voucher program is so

pervasive as to establish actual or constructive knowledge of the illegal conduct on the part of

TMHA’s policy makers, whose deliberate indifference to the unconstitutional practice is evidenced

by a failure to correct the situation after the need for training became obvious.

       145.    As a direct and proximate result of the illegal conduct or actions of Defendants, JG,

SP, and the minor children AP and MH have suffered injury and damages and experienced emotional

pain, suffering, mental anguish, embarrassment, humiliation, loss of enjoyment of life, aggravation

of disabilities, and increased endangerment of life.

       146.    Defendant TMHA’s conduct was motivated by evil motive or intent and involves

reckless or callous indifference to Plaintiffs-Intervenors’ federally protected rights and supports an

award of punitive damages.

       WHEREFORE, Plaintiffs-Intervenors pray this Court to enter judgment in their favor and

for the following relief:

                                           Page 32 of 72
       A.      Declare that Defendants’ policies, practices, and conduct utilized for terminating

               Plaintiffs-Intervenors from the § 8 Housing Choice Voucher Program as alleged

               herein, are unlawful;

       B.      Declare that Defendants’ acts and omissions as described above violate the

               Fourteenth Amendment of the United States Constitution;

       C.      Issue a permanent injunction forbidding Defendant, its agents, employees, and all

               persons acting in concert or participation with it from terminating Plaintiffs-

               Intervenors’ § 8 housing voucher prior to offering notice and an opportunity for a

               hearing;

       D.      Award Plaintiffs-Intervenors actual and compensatory damages in an amount to be

               determined at trial;

       E.      Award Plaintiffs-Intervenors punitive damages;

       F.      Plaintiffs-Intervenors prejudgment interest, post- judgment interest;

       G.      Award Plaintiffs-Intervenors their fees, costs, and attorney’s fees available under the

               law; and

       H.      Grant such other relief as is just.

                                     COUNT FOUR
                   Constitutional Rights Pursuant to 42 U.S.C. § 1983
                 Violation of Fourteenth Amendment Due Process Rights
     (Against Defendants TMHA and Osman and Simeon, in their Official Capacities)

       Plaintiffs-Intervenors JG, SP, and their minor children AP and MH, for Count Four of their

Intervening Complaint, allege:

       147.    Plaintiffs-Intervenors re-allege and incorporate by reference as if re-alleged in

paragraph 147 all other allegations in this Intervening Complaint.


                                           Page 33 of 72
        148.    Plaintiffs-Intervenors’ claims in Count Four arise under 42 U.S.C. § 1983.

        149.    Defendants TMHA, Osman, and Simeon have deprived Plaintiffs-Intervenors of

federally subsidized housing under the Housing Choice Voucher Program without due process of

law in violation of the Fourteenth Amendment to the United States Constitution by sending JG and

SP a letter, after repeated requests for reasonable accommodation due to disabilities, stating that their

voucher assistance had been terminated as of October 3, 2014 because they had “failed to sign

documents and move into [a] unit that had passed inspection[,]” but failing to notifying or offering

them the opportunity to request an informal hearing prior to termination of their § 8 housing voucher

program that complies with applicable procedures, 24 C.F.R. § 982.555(e) including, but not limited

to, appearing with counsel, presenting evidence, confronting witnesses, and cross-examining those

witnesses.

        150.    These Defendants, by their actions described herein, violated clearly established law.

        151.    As a direct and proximate result of the illegal conduct or actions of these Defendants,

JG, SP, and the minor children AP and MH have suffered injury and damages and experienced

emotional pain, suffering, mental anguish, embarrassment, humiliation, loss of enjoyment of life,

aggravation of disabilities, and increased endangerment of life.

        152.    Defendants TMHA, Osman, and Simeon’s conduct was motivated by evil motive or

intent and involves reckless or callous indifference to Plaintiffs-Intervenors’ federally protected

rights and supports an award of punitive damages.

        WHEREFORE, Plaintiffs-Intervenors pray this Court to enter judgment in their favor and

for the following relief:




                                            Page 34 of 72
       A.     Declare that Defendants’ policies, practices, and conduct utilized for terminating

              Plaintiffs-Intervenors from the § 8 Housing Choice Voucher Program as alleged

              herein, are unlawful;

       B.     Declare that Defendants’ acts and omissions as described above violate the

              Fourteenth Amendment of the United States Constitution;

       C.     Issue a permanent injunction forbidding Defendants, their agents, employees, and all

              persons acting in concert or participation with any of them from failing to notify and

              offer them the opportunity to request an informal hearing prior to their termination

              that complies with applicable procedures, 24 C.F.R. § 982.555(e) including, but not

              limited to, appearing with counsel, presenting evidence, confronting witnesses, and

              cross-examining those witnesses;

       D.     Award Plaintiffs-Intervenors actual and compensatory damages in an amount to be

              determined at trial;

       E.     Award Plaintiffs-Intervenors punitive damages;

       F.     Plaintiffs-Intervenors prejudgment interest, post- judgment interest;

       G.     Award Plaintiffs-Intervenors their fees, costs, and attorney’s fees available under the

              law; and

       H.     Grant such other relief as is just.

                                      COUNT FIVE
                    Constitutional Rights Pursuant to 42 U.S.C. § 1983
                  Violation of Fourteenth Amendment Due Process Rights
                  (Against Defendants Osman and Simeon, Individually)

       Plaintiffs-Intervenors JG, SP, and their minor children AP and MH, for Count Four of their

Intervening Complaint, allege:


                                          Page 35 of 72
       153.    Plaintiffs-Intervenors re-allege and incorporate by reference as if re-alleged in

paragraph 153 all other allegations in this Intervening Complaint.

       154.    Plaintiffs-Intervenors’ claims in Count Five arise under 42 U.S.C. § 1983.

       155.    Defendants Osman and Simeon have deprived Plaintiffs-Intervenors of federally

subsidized housing under the Housing Choice Voucher Program without due process of law in

violation of the Fourteenth Amendment to the United States Constitution by sending JG and SP a

letter, after repeated requests for reasonable accommodation due to disabilities, stating that their

voucher assistance had been terminated as of October 3, 2014 because they had “failed to sign

documents and move into [a] unit that had passed inspection[,]” but failing to notifying or offering

them the opportunity to request an informal hearing prior to their termination that complies with

applicable procedures, 24 C.F.R. § 982.555(e) including, but not limited to, appearing with counsel,

presenting evidence, confronting witnesses, and cross-examining those witnesses.

       156.     These Defendants, by their actions described herein, violated clearly established law.

       157.    As a direct and proximate result of the illegal conduct or actions of these Defendants,

JG, SP, and the minor children AP and MH have suffered injury and damages and experienced

emotional pain, suffering, mental anguish, embarrassment, humiliation, loss of enjoyment of life,

aggravation of disabilities, and increased endangerment of life.

       158.    Defendants Osman and Simeon’s conduct was motivated by evil motive or intent and

involves reckless or callous indifference to Plaintiffs-Intervenors’ federally protected rights and

supports an award of punitive damages.

       WHEREFORE, Plaintiffs-Intervenors pray this Court to enter judgment in their favor and

for the following relief:



                                           Page 36 of 72
       A.     Declare that Defendants’ policies, practices, and conduct utilized for terminating

              Plaintiffs-Intervenors from the § 8 Housing Choice Voucher Program as alleged

              herein, are unlawful;

       B.     Declare that Defendants’ acts and omissions as described above violate the

              Fourteenth Amendment of the United States Constitution;

       C.     Issue a permanent injunction forbidding Defendants, their agents, employees, and all

              persons acting in concert or participation with any of them from failing to notify and

              offer them the opportunity to request an informal hearing prior to their termination

              that complies with applicable procedures, 24 C.F.R. § 982.555(e) including, but not

              limited to, appearing with counsel, presenting evidence, confronting witnesses, and

              cross-examining those witnesses;

       D.     Award Plaintiffs-Intervenors actual and compensatory damages in an amount to be

              determined at trial;

       E.     Award Plaintiffs-Intervenors punitive damages;

       F.     Award Plaintiffs-Intervenors prejudgment interest, post- judgment interest;

       G.     Award Plaintiffs-Intervenors their fees, costs, and attorney’s fees available under the

              law; and

       H.     Grant such other relief as is just.

                                      COUNT SIX
                   Constitutional Rights Pursuant to 42 U.S.C. § 1983
                 Violation of Fourteenth Amendment Due Process Rights
     (Against Defendants TMHA and Osman and Simeon, in their Official Capacities)

       Plaintiffs-Intervenors JG, SP, and their minor children AP and MH, for Count Six of their

Intervening Complaint, allege:


                                          Page 37 of 72
       159.    Plaintiffs-Intervenors re-allege and incorporate by reference as if re-alleged in

paragraph 159 all other allegations in this Intervening Complaint.

       160.    Plaintiffs-Intervenors’ claims in Count Six arise under 42 U.S.C. § 1983.

       161.    Defendants TMHA, Osman, and Simeon have deprived Plaintiffs-Intervenors of

federally subsidized housing under the Housing Choice Voucher Program without due process of

law in violation of the Fourteenth Amendment to the United States Constitution by filling out a

Verification of Need Form for JG’s signature and addressed to JG’s dialysis center and attaching to

that Form the signature page from a HUD 9886 Form executed by JG and SP to create the false

pretense that JG had signed the Verification of Need Form dated March 27, 2015, and adding

language to the March 27, 2015 Verification of Need Form from 18 U.S.C. § 1001 that states: “Title

18, Section 1001 of the U.S. Code states that a person is guilty of a felony of knowingly and

willingly making false or Fraudulent statements to any department of the United States Government”

to coerce JG’s medical providers and doctor, under false threat of a felony charge, to change and

eliminate language in the doctor’s recommendation on the issue of reasonable accommodation that

supported JG and SP’s claims of discrimination against Defendants in their complaint filed with

HUD.

       162.     These Defendants, by their actions described herein, violated clearly established law.

       163.    As a direct and proximate result of the illegal conduct or actions of these Defendants,

JG, SP, and the minor children AP and MH have suffered injury and damages and experienced

emotional pain, suffering, mental anguish, embarrassment, humiliation, loss of enjoyment of life,

aggravation of disabilities, and increased endangerment of life.




                                          Page 38 of 72
       164.    Defendants TMHA, Osman, and Simeon’s conduct was motivated by evil motive or

intent and involves reckless or callous indifference to Plaintiffs-Intervenors’ federally protected

rights and supports an award of punitive damages.

       WHEREFORE, Plaintiffs-Intervenors pray this Court to enter judgment in their favor and

for the following relief:

       A.      Declare that Defendants’ policies, practices, and conduct utilized for terminating

               Plaintiffs-Intervenors from the § 8 Housing Choice Voucher Program as alleged

               herein, are unlawful;

       B.      Declare that Defendants’ acts and omissions as described above violate the

               Fourteenth Amendment of the United States Constitution;

       C.      Issue a permanent injunction forbidding Defendants, their agents, employees, and all

               persons acting in concert or participation with any of them from terminating misusing

               any Verification of Need Forms, HUD 9886 Forms, or other forms used in

               connection with the § 8 housing voucher administered by Defendants in any way that

               is unlawful, creates a false pretense or part of a scheme to defraud;

       D.      Award Plaintiffs-Intervenors actual and compensatory damages in an amount to be

               determined at trial;

       E.      Award Plaintiffs-Intervenors punitive damages;

       F.      Award Plaintiffs-Intervenors prejudgment interest, post- judgment interest;

       G.      Award Plaintiffs-Intervenors their fees, costs, and attorney’s fees available under the

               law; and

       H.      Grant such other relief as is just.



                                           Page 39 of 72
                                       COUNT SEVEN
                     Constitutional Rights Pursuant to 42 U.S.C. § 1983
                   Violation of Fourteenth Amendment Due Process Rights
                   (Against Defendants Osman and Simeon, Individually)

       Plaintiffs-Intervenors JG, SP, and their minor children AP and MH, for Count Seven of their

Intervening Complaint, allege:

       165.    Plaintiffs-Intervenors re-allege and incorporate by reference as if re-alleged in

paragraph 165 all other allegations in this Intervening Complaint.



       166.    Plaintiffs-Intervenors’ claims in Count Seven arise under 42 U.S.C. § 1983.

       167.    Defendants Osman and Simeon have deprived Plaintiffs-Intervenors of federally

subsidized housing under the Housing Choice Voucher Program without due process of law in

violation of the Fourteenth Amendment to the United States Constitution by filling out a Verification

of Need Form for JG’s signature and addressed to JG’s dialysis center and attaching to that Form the

signature page from a HUD 9886 Form executed by JG and SP to create the false pretense that JG

had signed the Verification of Need Form dated March 27, 2015, and adding language to the March

27, 2015 Verification of Need Form from 18 U.S.C. § 1001 that states: “Title 18, Section 1001 of

the U.S. Code states that a person is guilty of a felony of knowingly and willingly making false or

Fraudulent statements to any department of the United States Government” to coerce JG’s medical

providers and doctor, under false threat of a felony charge, to change and eliminate language in the

doctor’s recommendation on the issue of reasonable accommodation that supported JG and SP’s

claims of discrimination against Defendants in their complaint filed with HUD.

       168.    These Defendants, by their actions described herein, violated clearly established law.

       169.    As a direct and proximate result of the illegal conduct or actions of these Defendants,

JG, SP, and the minor children AP and MH have suffered injury and damages and experienced


                                          Page 40 of 72
emotional pain, suffering, mental anguish, embarrassment, humiliation, loss of enjoyment of life,

aggravation of disabilities, and increased endangerment of life.

       170.    Defendants Osman and Simeon’s conduct was motivated by evil motive or intent and

involves reckless or callous indifference to Plaintiffs-Intervenors’ federally protected rights and

supports an award of punitive damages.

       WHEREFORE, Plaintiffs-Intervenors pray this Court to enter judgment in their favor and

for the following relief:

       A.      Declare that Defendants’ policies, practices, and conduct utilized for terminating

               Plaintiffs-Intervenors from the § 8 Housing Choice Voucher Program as alleged

               herein, are unlawful;

       B.      Declare that Defendants’ acts and omissions as described above violate the

               Fourteenth Amendment of the United States Constitution;

       C.      Issue a permanent injunction forbidding Defendants, their agents, employees, and all

               persons acting in concert or participation with any of them from terminating misusing

               any Verification of Need Forms, HUD 9886 Forms, or other forms used in

               connection with the § 8 housing voucher administered by Defendants in any way that

               is unlawful, creates a false pretense or part of a scheme to defraud;

       D.      Award Plaintiffs-Intervenors actual and compensatory damages in an amount to be

               determined at trial;

       E.      Award Plaintiffs-Intervenors punitive damages;

       F.      Award Plaintiffs-Intervenors prejudgment interest, post- judgment interest;

       G.      Award Plaintiffs-Intervenors their fees, costs, and attorney’s fees available under the

               law; and

       H.      Grant such other relief as is just.

                                           Page 41 of 72
                                     COUNT EIGHT
      United States Housing Act of 1937 Rights Pursuant to 42 U.S.C. §§ 1437d, 1437f
          Wrongful Termination of Participation in Section 8 Voucher Program
     (Against Defendants TMHA and Osman and Simeon, in their Official Capacities)

       Plaintiffs-Intervenors JG, SP, and their minor children AP and MH, for Count Eight of their

Intervening Complaint, allege:

       171.    Plaintiffs-Intervenors re-allege and incorporate by reference as if re-alleged in

paragraph 171 all other allegations in this Intervening Complaint.

       172.    Defendants violated the United States Housing Act of 1937, 42. U.S.C. 1437d(k), 42

U.S.C. § 1437f, and its implementing regulations in 24 C.F.R. §982.555(c)(2) and § 982.555(e), by

terminating Plaintiffs-Intervenors from the Section 8 housing choice voucher program without

providing Plaintiffs-Intervenors with written notice of the opportunity to request an informal hearing

prior to termination of their Section 8 benefits and an opportunity to participate in a hearing that

complies with applicable procedures, 24 C.F.R. § 982.555(e) including, but not limited to, appearing

with counsel, presenting evidence, confronting witnesses, and cross-examining those witnesses.

       173.    As a direct and proximate result of the illegal conduct or actions of Defendants, JG,

SP, and the minor children AP and MH have suffered injury and damages and experienced emotional

pain, suffering, mental anguish, embarrassment, humiliation, loss of enjoyment of life, aggravation

of disabilities, and increased endangerment of life.

       174.     Defendants’ conduct was motivated by evil motive or intent and involves reckless

or callous indifference to Plaintiffs-Intervenors’ federally protected rights and supports an award of

punitive damages.




                                           Page 42 of 72
       WHEREFORE, Plaintiffs-Intervenors pray this Court to enter judgment in their favor and

for the following relief:

       A.      Declare that Defendants’ policies, practices, and conduct utilized for terminating

               Plaintiffs-Intervenors from the § 8 Housing Choice Voucher Program as alleged

               herein, are unlawful;

       B.      Declare that Defendants’ acts and omissions as described above violate the

               Fourteenth Amendment of the United States Constitution;

       C.      Declare that Defendants’ acts and omissions as described above to be in violation of

               42 U.S.C. §1437d, 42 U.S.C. §1437f and their implementing provisions in 24 C.F.R.

               §982.555(c)(2), (e)(5), and (e)(6);

       D.      Issue a permanent injunction forbidding Defendants, their agents, employees, and

               all persons acting in concert or participation with any of them from terminating

               misusing any Verification of Need Forms, HUD 9886 Forms, or other forms used

               in connection with the § 8 housing voucher administered by Defendants in any

               way that is unlawful, creates a false pretense or part of a scheme to defraud;

       E.      Award Plaintiffs-Intervenors actual and compensatory damages in an amount to

               be determined at trial;

       F.      Award Plaintiffs-Intervenors punitive damages;

       G.      Award Plaintiffs-Intervenors prejudgment interest, post- judgment interest;

       H.      Award Plaintiffs-Intervenors their fees, costs, and attorney’s fees available under

               the law; and

       I.      Grant such other relief as is just.



                                           Page 43 of 72
                                    COUNT NINE
                  Fair Housing Act Rights Pursuant to 42 U.S.C. § 3604
  Discrimination and Failure to Make Reasonable Accommodation Because of Disability
    (Against Defendants TMHA and Osman and Simeon, in their Official Capacities)

       Plaintiffs-Intervenors JG, SP, and their minor children AP and MH, for Count Nine of

their Intervening Complaint, allege:

       175.    Plaintiffs-Intervenors re-allege and incorporate by reference as if re-alleged in

paragraph 175 all other allegations in this Intervening Complaint.

       176.    By the actions and statements set forth above, Defendants have:

               a.      discriminated in the rental of, or otherwise made unavailable or denied a

                       dwelling because of disability, in violation of Section 804(f)(1) of the

                       FHA, 42 U.S.C. § 3604(f)(1);

               b.      discriminated in the terms, conditions, or privileges of rental of a dwelling,

                       or in the provision of services or facilities in connection with such

                       dwelling because of disability, in violation of Section 804(f)(2) of the

                       FHA, 42 U.S.C. § 3604(f)(2); and

               c.      refused to make reasonable accommodations in rules, practices, or

                       policies, when such accommodations may be necessary to afford persons

                       with disabilities the equal opportunity to use and enjoy housing, in

                       violation of Section 804(f)(3) of the FHA, 42 U.S.C. § 3604(f)(3).

       177.    As a direct result of the illegal conduct or actions of Defendants, JG, SP, and the

minor children AP and MH have suffered injury and damages and experienced emotional pain,

suffering, mental anguish, embarrassment, humiliation, loss of enjoyment of life, aggravation of

disabilities, and increased endangerment of life.


                                          Page 44 of 72
       178.    Defendants’ conduct was motivated by evil motive or intent and involves reckless

or callous indifference to Plaintiffs-Intervenors’ federally protected rights and supports an award

of punitive damages.

       WHEREFORE, Plaintiffs-Intervenors pray this Court to enter judgment in their favor and

for the following relief:

       A.      Declare that Defendants’ policies and practices, as alleged herein, violate the Fair

               Housing Act, as amended, 42 U.S.C. § 3601, et. seq.;

       B.      An order requiring Defendants to take all necessary and appropriate affirmative

               steps to correct the continuing effects of its past and present discriminatory

               practices;

       C.      An order requiring such action by the Defendants as may be necessary to restore

               Plaintiff-Intervenors to the position they would have occupied but for such

               discriminatory conduct;

       D.      Award Plaintiffs-Intervenors monetary damages to the Complainants, pursuant to

               42 U.S.C. §§ 3612((o)(3) and 3613(c)(1);

       E.      Award Plaintiffs-Intervenors actual and compensatory damages in an amount to

               be determined at trial;

       E.      Award Plaintiffs-Intervenors punitive damages;

       F.      Award Plaintiffs-Intervenors prejudgment interest, post- judgment interest;

       G.      Award Plaintiffs-Intervenors their fees, costs, and attorney’s fees available under

               the law; and

       H.      Grant such other relief as is just.



                                           Page 45 of 72
                                     COUNT TEN
                  Fair Housing Act Rights Pursuant to 42 U.S.C. § 3604
     Discrimination and Failure to Make Reasonable Accommodation Because of Race
     (Against Defendants TMHA and Osman and Simeon, in their Official Capacities)

       Plaintiffs-Intervenors JG, SP, and their minor children AP and MH, for Count Ten of

their Intervening Complaint, allege:

       179.    Plaintiffs-Intervenors re-allege and incorporate by reference as if re-alleged in

paragraph 179 all other allegations in this Intervening Complaint.

       180.    By the actions and statements set forth above, Defendants have:

               a.     discriminated in the rental of, or otherwise made unavailable or denied a

                      dwelling because of race, in violation of Section 804(b) of the FHA, 42

                      U.S.C. § 3604(b);

               b.     discriminated in the terms, conditions, or privileges of rental of a dwelling,

                      or in the provision of services or facilities in connection with such

                      dwelling because of race, in violation of Section 804(b) of the FHA, 42

                      U.S.C. § 3604(b); and

               c.     refused because of race to make reasonable accommodations in rules,

                      practices, or policies, when such accommodations may be necessary to

                      afford persons with disabilities the equal opportunity to use and enjoy

                      housing, in violation of Sections 804(b) and 804(f)(3) of the FHA, 42

                      U.S.C. §§ 3604(b) and 3604(f)(3).

       181.    As a direct result of the illegal conduct or actions of Defendants, JG, SP, and the

minor children AP and MH have suffered injury and damages and experienced emotional pain,




                                          Page 46 of 72
suffering, mental anguish, embarrassment, humiliation, loss of enjoyment of life, aggravation of

disabilities, and increased endangerment of life.

       182.    Defendants’ conduct was motivated by evil motive or intent and involves reckless

or callous indifference to Plaintiffs-Intervenors’ federally protected rights and supports an award

of punitive damages.

       WHEREFORE, Plaintiffs-Intervenors pray this Court to enter judgment in their favor and

for the following relief:

       A.      Declare that Defendants’ policies and practices, as alleged herein, violate the Fair

               Housing Act, as amended, 42 U.S.C. § 3601, et. seq.;

       B.      An order requiring Defendants to take all necessary and appropriate affirmative

               steps to correct the continuing effects of its past and present discriminatory

               practices;

       C.      An order requiring such action by the Defendants as may be necessary to restore

               Plaintiff-Intervenors to the position they would have occupied but for such

               discriminatory conduct;

       D.      Award Plaintiffs-Intervenors monetary damages to the Complainants, pursuant to

               42 U.S.C. §§ 3612((o)(3) and 3613(c)(1);

       E.      Award Plaintiffs-Intervenors actual and compensatory damages in an amount to

               be determined at trial;

       F.      Award Plaintiffs-Intervenors punitive damages;

       G.      Award Plaintiffs-Intervenors prejudgment interest, post- judgment interest;

       H.      Award Plaintiffs-Intervenors their fees, costs, and attorney’s fees available under

               the law; and

       I.      Grant such other relief as is just.

                                           Page 47 of 72
                                    COUNT ELEVEN
                  Fair Housing Act Rights Pursuant to 42 U.S.C. § 3617
             Retaliation, Coercion, Intimidation, Threatening or Interference
     (Against Defendants TMHA and Osman and Simeon, in their Official Capacities)

       Plaintiffs-Intervenors JG, SP, and their minor children AP and MH, for Count Eleven of

their Intervening Complaint, allege:

       183.    Plaintiffs-Intervenors re-allege and incorporate by reference as if re-alleged in

paragraph 183 all other allegations in this Intervening Complaint.

       184.    By the actions and statements set forth above, Defendants have unlawfully

retaliated, coerced, intimidated, threatened, or interfered with a person in the exercise or

enjoyment of, or on account of his or her having exercised or enjoyed, any right granted or

protected by the Fair Housing Act, 42 U.S.C. §§ 3603, 3604, 3605, or 3606 by:

               a.      Sending JG and SP a letter, after repeated requests for reasonable

                       accommodation due to disabilities, stating that their voucher assistance

                       had been terminated as of October 3, 2014 because they had “failed to sign

                       documents and move into [a] unit that had passed inspection[,]” but failing

                       to notifying or offering them the opportunity to request an informal

                       hearing prior to termination of their § 8 housing voucher program that

                       complies with applicable procedures, 24 C.F.R. § 982.555(e) including,

                       but not limited to, appearing with counsel, presenting evidence,

                       confronting witnesses, and cross-examining those witnesses;

               b.      Terminating JG and SP’s voucher assistance on October 3, 2014 when the

                       four-bedroom voucher that Defendants issued in response to JG and SP’s




                                           Page 48 of 72
     request for reasonable accommodation due to disabilities was still valid

     and did not expire for another thirty days.

c.   Filling out a Verification of Need Form for JG’s signature and addressed

     to JG’s dialysis center and, instead of having JG sign it, attaching to that

     Form the signature page from a HUD 9886 Form executed by JG and SP,

     and thereby creating the false pretense, as part of a scheme to defraud, that

     JG had signed the Verification of Need Form dated March 27, 2015.

d.   Adding language to the March 27, 2015 Verification of Need Form from

     18 U.S.C. § 1001 that states: “Title 18, Section 1001 of the U.S. Code

     states that a person is guilty of a felony of knowingly and willingly making

     false or Fraudulent statements to any department of the United States

     Government” as part of the scheme to defraud and coerce JG’s medical

     providers and doctor, under false threat of a felony charge, to change and

     eliminate language in the doctor’s recommendation on the issue of

     reasonable accommodation that supported JG and SP’s claims of

     discrimination against Defendants in their complaint filed with HUD;

e.   Misusing a Verification of Need Form and a HUD 9886 Form and sending

     it to JG’s medical providers under false pretenses and a scheme to defraud

     in March 2015 in order to secure secret and unauthorized communications

     with JG’s medical providers and obtain unauthorized access to his medical

     information after JG and SP filed a housing discrimination complaint with

     HUD;



                        Page 49 of 72
              f.     Having unauthorized contacts with JG’s medical providers on April 6,

                     2015 and access to his medical information under false pretenses and

                     continuing scheme to defraud for the purpose of persuading JG’s medical

                     providers and doctor, under false threat of a felony charge, to change and

                     eliminate language in the doctor’s recommendation on the issue of

                     reasonable accommodation that supported JG and SP’s claims of

                     discrimination against Defendants in their complaint filed with HUD;

              g.     Having unauthorized contact by telephone with JG’s medical providers on

                     April 13, 2015 and access to his medical information under false pretenses

                     and continuing scheme to defraud for the purpose of getting JG’s medical

                     providers and doctor, under false threat of a felony charge, to change and

                     eliminate language in the doctor’s recommendation on the issue of

                     reasonable accommodation that supported JG and SP’s claims of

                     discrimination against Defendants in their complaint filed with HUD;

              h.     Coercing JG’s medical providers and nephrologist, after using false

                     pretenses, a continuing scheme to defraud, and the false threat of a felony

                     charge, to change and eliminate language in the doctor’s recommendation

                     on the issue of reasonable accommodation that supported JG and SP’s

                     claims of discrimination against Defendants in their complaint filed with

                     HUD;

       185.   As a direct and proximate result of the illegal conduct or actions of Defendants,

JG, SP, and the minor children AP and MH have suffered injury and damages and experienced



                                        Page 50 of 72
emotional pain, suffering, mental anguish, embarrassment, humiliation, loss of enjoyment of life,

aggravation of disabilities, and increased endangerment of life.

       186.    Defendants’ conduct was motivated by evil motive or intent and involves reckless

or callous indifference to Plaintiffs-Intervenors’ federally protected rights and supports an award

of punitive damages.

       WHEREFORE, Plaintiffs-Intervenors pray this Court to enter judgment in their favor and

for the following relief:

       A.      Declare that Defendants’ policies and practices, as alleged herein, violate the Fair

               Housing Act, as amended, 42 U.S.C. § 3601, et. seq.;

       B.      An order requiring Defendants to take all necessary and appropriate affirmative

               steps to correct the continuing effects of its past and present discriminatory and

               retaliatory practices;

       C.      An order requiring such action by the Defendants as may be necessary to restore

               Plaintiff-Intervenors to the position they would have occupied but for such

               discriminatory and retaliatory conduct;

       D.      Award Plaintiffs-Intervenors monetary damages to the Complainants, pursuant to

               42 U.S.C. §§ 3612((o)(3) and 3613(c)(1);

       E.      Award Plaintiffs-Intervenors actual and compensatory damages in an amount to

               be determined at trial;

       F.      Award Plaintiffs-Intervenors punitive damages;

       G.      Award Plaintiffs-Intervenors prejudgment interest, post- judgment interest;

       H.      Award Plaintiffs-Intervenors their fees, costs, and attorney’s fees available under

               the law; and

       I.      Grant such other relief as is just.

                                           Page 51 of 72
                                    COUNT TWELVE
                                 RICO, 18 U.S.C. § 1962(c)
                                     Violation of RICO
                    (Against Defendants Osman and Simeon, Individually)

       187.    Plaintiffs-Intervenors JG, SP, and their minor children AP and MH, for Count

Twelve of their Intervening Complaint, allege:

       188.    Plaintiffs-Intervenors re-allege and incorporate by reference as if re-alleged in

paragraph 188 all other allegations in this Intervening Complaint.

       189.    RICO, 18 U.S.C. §§ 1961-1968, permits claimants in a civil action to recover

treble damages for “any person injured in his business or property by reason of a violation of

section 1962.” 18 U.S.C. § 1964(c).

       190.    RICO makes it unlawful “for any person employed by or associated with any

enterprise” to “conduct or participate, directly or indirectly, in the conduct of such enterprise’s

affairs through a pattern of racketeering activity.” 18 U.S.C. § 1962(c).

       191.    RICO defines a “pattern of racketeering activity” as requiring “at least two acts of

racketeering activity” within ten years. 18 U.S.C. § 1961(5). “Racketeering activity” includes

extortion and acts of wire fraud in violation of 18 U.S.C. § 1343 and mail fraud in violation of 18

U.S.C. § 1341. 18 U.S.C. § 1961(1)(B).

       192.    The term “extortion” under The Hobbs Act, 18 U.S.C. §1951, means “the

obtaining of property from another, with his consent, induced by wrongful use of actual or

threatened force, violence, or fear, or under color of official right.” 18 U.S.C. § 1951(b)(2).

       193.    Wire fraud in violation of 18 U.S.C. § 1343 occurs when a person, “having

devised or intending to devise any scheme or artifice to defraud,” transmits or causes to be

transmitted by means of wire” any writings for the purpose of executing such scheme or artifice.


                                           Page 52 of 72
       194.    Mail fraud in violation of 18 U.S.C. § 1341 occurs when a person, “having

devised or intending to devise any scheme or artifice to defraud,” for the purpose of executing

such scheme or artifice or attempting so to do, “places in any post office or authorized depository

for mail matter, any matter or thing whatever to be sent or delivered by the Postal Service[.]”

       195.    RICO prohibits conducting the affairs of an enterprise through a pattern of

racketeering activity. 18 U.S.C. § 1962(c) .

       196.    RICO defines “enterprise” as “any individual, partnership, corporation, or other

legal entity.” 18 U.S.C. 1961(4).

       RICO Enterprise

       197.    Defendant Trumbull Metropolitan Housing Authority, an entity created by statute,

constituted an enterprise within the meaning of 18 U.S.C. §§ 1961(4) and 1962(c) and has an

independent existence and is distinct from the pattern of racketeering alleged herein.

       198.    This enterprise receives federal financial assistance through an Annual

Contributions Contract with HUD and uses this funding, in part, to finance and administer a

housing voucher program and federal Housing Choice Voucher Program under § 8 of the United

States Housing Act of 1937, 42 U.S.C. § 1473(f) and the enterprise’s activities therefore affect

interstate commerce.

       199.    Defendants Osman and Simeon are each a person within the meaning of 18 U.S.C.

§ 1961(d) and separate from the enterprise.

       200.    Osman, was employed by the enterprise and, as Assistant Director of TMHA, was

in charge of TMHA’s operations and the housing voucher program it administered. As such, he

was in charge of monitoring, supervising, and participated in the operation or management of the



                                          Page 53 of 72
enterprise and in the racketeering scheme at issue, but such acts were not within the scope of his

authority as an employee of TMHA.

       201.    Simeon, Voucher Program Coordinator at TMHA, was employed by the enterprise

and in charge of TMHA’s voucher program and operations. As such, she and participated in the

operation or management of the enterprise and was in charge of setting up, orchestrating, and

participating in the entire racketeering scheme at issue, but such acts were not within the scope

of her authority as an employee of TMHA.

       202.    Defendants Osman and Simeon’s scienter is clearly established from their pattern

and practices at issue. Moreover, these Defendants continued with their false pretenses and

fraudulent conduct nonchalantly even though they knew of their falsity.

       203.     Osman and Simeon participated and, with other third parties known to them,

conspired to manage and participate in the affairs of the enterprise through a pattern of

racketeering activity, as alleged herein, all in violation of 18 U.S.C. § 1962(c).

       Mail Fraud Violations

       204.    On October 6, 2014, Defendants mailed JG and SP a letter stating that their

voucher assistance had been terminated as of October 3, 2014 because they had “failed to sign

documents and move into [a] unit that had passed inspection[,]” but fraudulently and

intentionally omitting any notice or offer of the opportunity to request an informal hearing prior

to termination of their Section 8 benefits that complies with applicable procedures, 24 C.F.R. §

982.555(e) including, but not limited to, appearing with counsel, presenting evidence,

confronting witnesses, and cross-examining those witnesses.



                                           Page 54 of 72
       205.    On or about March 27, 2015, Defendants mailed JG’s dialysis center a

Verification of Need Form addressed to the dialysis center in Pennsylvania with an attached

signature page from an unrelated HUD 9886 Form with JG and SP’s signatures, all intended to

create the false pretense that JG had signed the Verification of Need Form and as part of a

scheme to defraud in order to secure secret and unauthorized communications with JG’s medical

providers and obtain unauthorized access to his medical information.

       206.    On April 20, 2015, Defendants received by mail a revised recommendation from

JG’s nephrologist who, under Defendants’ false pretenses, continuing scheme to defraud, and the

false threat of a felony charge, changed and eliminated language in his prior recommendation on

the issue of reasonable accommodation that had supported JG and SP’s claims of discrimination

against Defendants in their complaint filed with HUD.

       207.    Osman and Simeon knew, expected, and reasonably foresaw, and intended that

the facilities of interstate mail would be used in furtherance of the racketeering scheme, and that

such use was an essential party of the scheme.

       208.    Osman and Simeon willfully and with intent to mislead concealed the material

facts from JG’s medical providers and dialysis center and from Plaintiffs-Intervenors as referred

to above.

       209.    JG’s medical providers and dialysis center relied upon Osman and Simeon’s

misrepresentations, and such reliance was reasonable.

       210.    Osman and Simeon willfully and with intent to conceal from Plaintiffs-

Intervenors concealed their use of false pretenses and continuing scheme to defraud as referred to

above, and Plaintiffs-Intervenors acted without knowledge of such conduct, all to their detriment.


                                          Page 55 of 72
       211.    Osman and Simeon’s misconduct was deliberate, willful, corrupt, and fraudulent.

       Wire Fraud Violations

       212.    On April 6, 2015, Simeon spoke to JG’s medical providers by telephone and

gained access to his medical information under false pretenses and in connection with a

continuing scheme to defraud in order to interfere illegally with JG and SP’s exercise of federal

rights and to persuade JG’s medical providers and doctor, under false threat of a felony charge, to

change and eliminate language in the doctor’s recommendation on the issue of reasonable

accommodation that supported JG and SP’s claims of discrimination against Defendants in their

complaint filed with HUD;

       213.    On April 13, 2015, Simeon spoke with JG’s medical providers by telephone and

gained access to his medical information under false pretenses and in connection with a

continuing scheme to defraud in order to interfere illegally with JG and SP’s exercise of federal

rights and to persuade JG’s medical providers and doctor, under false threat of a felony charge, to

change and eliminate language in the doctor’s recommendation on the issue of reasonable

accommodation that supported JG and SP’s claims of discrimination against Defendants in their

complaint filed with HUD.

       214.    Osman and Simeon knew, expected, and reasonably foresaw, and intended that

the facilities of the wires would be used in furtherance of the racketeering scheme, and that such

use was an essential party of the scheme.

       215.    Osman and Simeon willfully and with intent to mislead concealed the material

facts from JG’s medical providers and dialysis center and from Plaintiffs-Intervenors as referred

to above.

                                            Page 56 of 72
       216.    JG’s medical providers and dialysis center relied upon Osman and Simeon’s

misrepresentations, and such reliance was reasonable.

       217.    Osman and Simeon willfully and with intent to conceal from Plaintiffs-

Intervenors concealed their use of false pretenses and continuing scheme to defraud as referred to

above, and Plaintiffs-Intervenors acted without knowledge of such conduct, all to their detriment.

       218.    Osman and Simeon’s misconduct was deliberate, willful, corrupt, and fraudulent.

       Extortion

       219.    Osman and Simeon wrongfully took Plaintiffs-Intervenors’ property interest of

participating in the § 8 Housing Choice Voucher Program when Defendants, under color of

official right and with an intent to obtain by means that in justice and equity Defendants were not

entitled to obtain, terminated Plaintiffs-Intervenors’ voucher assistance and participation in the §

8 voucher program claiming that JG and SP had “failed to sign documents and move into [a]

unit that had passed inspection[,]” and fraudulently and intentionally omitted in their letter of

termination any notice or offer of the opportunity to request an informal hearing prior to

termination of their Section 8 benefits that complies with applicable procedures, 24 C.F.R. §

982.555(e) including, but not limited to, appearing with counsel, presenting evidence,

confronting witnesses, and cross-examining those witnesses, all in violation of Plaintiffs-

Intervenors’ Due Process rights under the Fourteenth Amendment.

       220.    Osman and Simeon’s misconduct was deliberate, willful, corrupt, and fraudulent.

       Pattern of Racketeering Activity

       221.    The acts identified above had the same or similar purposes, results, participants,

victims and methods of commission, and were otherwise interrelated by distinguishing

                                           Page 57 of 72
characteristics and were not isolated events. The pattern of racketeering activity engaged in by

Osman and Simeon consisted of a scheme executed from October 2014, and continuing to date,

and that pattern included multiple predicate acts of extortion.

       222.    The racketeering acts identified herein were related to one another and formed a

pattern of racketeering activity in that they: (a) were in furtherance of a common goal of fraud,

deception and deprivation of rights; (b) used similar methods and standard manners of deception,

misleading, and deprivation; (c) had similar participants; and (d) had similar victims.

       223.    The acts of racketeering activity extended over a substantial period of time from

October 2014, and continue to this day. They were sufficiently continuous to form a pattern of

racketeering activity.

       224.    Osman and Simeon participated in the scheme through themselves, TMHA, and

others whose identities are known only to Defendants at this time. Defendants benefitted from

the scheme. Defendants each knew, enabled, and actively participated in the racketeering

scheme.

       225.    Osman and Simeon’s participation was critical to the racketeering scheme. Each

of them enabled, conducted, maintained, aided, and abetted the racketeering scheme by:

               a.        Drafting and preparing letters, forms and other documents;

               b.        Supervising, conducting, and monitoring the conduct of the fraudulent

                         scheme;

               c.        Concealing the scheme or, alternatively, consciously avoiding discovery of

                         the scheme;

               d.        encouraging third parties to participate in the racketeering scheme;



                                            Page 58 of 72
                e.      wilfully violating, or being recklessly indifferent to, mandatory

                        requirements of federal law and procedure concerning racketeering, and

                        the misuse of governmental authority; and

                f.      Wilfully violating or being recklessly indifferent to their legal obligations

                        to comply with federal and state laws.

        226.    The precise role played by Osman and Simeon and others at TMHA is known only

to Defendants at this time. Such information, and evidence concerning their participation, is

exclusively within the possession and knowledge of Defendants.

        227.    Plaintiffs-Intervenors have been injured in their business or property by reason of

Osman and Simeon’s violation of RICO, 18 U.S.C. §1962(c). As a direct and proximate result of

these violations, Plaintiffs-Intervenors have been injured in that, inter alia, they had to spend money

and resources and incur bills and expenses responding to, as well as compensating for, Defendants's

misconduct, fraud, and deception and the results and consequences thereof.

        228.    By reason of this violation of 18 U.S.C. §1964(c), Plaintiffs-Intervenors are entitled

to recover from Defendants three times their damages plus prejudgment interest, post- judgment

interest, costs and attorney’s fees.

        229.    The Defendants’ actions and statements as set forth above were intentional, willful,

corrupt, and in callous disregard for the rights of JG, SP, and the minor children AP and MH, and

support an award of punitive damages.

        WHEREFORE, Plaintiffs-Intervenors pray this Court to enter judgment in their favor and

for the following relief:

        A.      Award Plaintiffs-Intervenors damages in an amount to be determined at trial and

                duly treble those damages in accordance with 18 U.S.C. § 1964(c);

                                           Page 59 of 72
       B.      Award Plaintiffs-Intervenors punitive damages;

       C.      Award Plaintiffs-Intervenors prejudgment interest, post- judgment interest;

       D.      Award Plaintiffs-Intervenors their fees, costs, and attorney’s fees available under 18

               U.S.C. § 1964(c); and

       E.      Grant such other relief as is just.

                                       COUNT THIRTEEN
                                    RICO, 18 U.S.C. § 1962(d)
                                   Conspiracy to Violate RICO
                                     (Against All Defendants)

       230.    Plaintiffs-Intervenors JG, SP, and their minor children AP and MH, for Count

Thirteen of their Intervening Complaint, allege:

       231.    Plaintiffs-Intervenors re-allege and incorporate by reference as if re-alleged in

paragraph 231 all other allegations in this Intervening Complaint.

       232.    RICO, 18 U.S.C. § 1962(d) makes it “unlawful to conspire to violate” 18

U.S.C. § 1962(c). Hence, § 1962(d) makes it unlawful to conspire to conduct the affairs of

an enterprise through a pattern of racketeering activity.

       233.    A conspiracy to violate RICO pursuant to 18 U.S.C. § 1962(d) is established

if the defendant associated with an enterprise which affected interstate commerce and the

defendant objectively manifested an agreement to participate in the affairs of the enterprise.

       234.    A conspiracy to violate RICO pursuant to 18 U.S.C. § 1962(d) is established

if: (1) an enterprise existed; (2) the enterprise affected interstate or foreign commerce; (3)

the defendant associated with the enterprise; and (4) the defendant objectively manifested an

agreement to participate in the affairs of the enterprise.

                                           Page 60 of 72
       235.   A tacit understanding between the conspirators shown wholly through the

circumstantial evidence of each defendant’s actions is sufficient. Proof of an express

agreement is not required.

       236.   A conspiracy to violate RICO may exist even if a conspirator does not agree

to commit or facilitate each and every part of the substantive offense.

       237.   Plaintiffs need not prove that each alleged conspirator agreed that he or she

would be the one to commit the two predicate acts required under that statute.

       238.   A conspirator must intend to further an endeavor which, if completed, would

satisfy all of the elements of a substantive criminal offense, but it suffices that he adopt the

goal of furthering or facilitating the criminal endeavor.

       239.   A violation of 18 U.S.C. § 1962(d) intentionally omits two elements necessary

to prove a violation of § 1962(c): The requirement that the defendant participated, directly

or indirectly, in the conduct of the affairs of the enterprise, and the requirement that the

defendant participated in the enterprise through a pattern of racketeering activity by

committing at least two racketeering (predicate) acts.

       Association-in-Fact RICO Enterprise

       240.   18 U.S.C. § 1962(d) makes it unlawful to conspire to conduct the affairs of an

enterprise through a pattern of racketeering activity. RICO defines “enterprise” to include

any “group of individuals associated in fact.” 18 U.S.C. 1961(4). The essence of an




                                        Page 61 of 72
‘association in fact’ is that it is not a legitimate business or other entity operating in the

public eye.

       241.    The RICO enterprise must exhibit three basic characteristics: (1) a common or

shared purpose; (2) some continuity of structure and personnel; and (3) an ascertainable

structure distinct from that inherent in a pattern of racketeering.

       242.    The RICO enterprise consists of the association-in-fact of TMHA, Osman,

Simeon, and Delbene Lapolla & Thomas. The enterprise had as its common purpose the

administration of TMHA’s housing voucher program and federal Housing Choice Voucher

Program under § 8 of the United States Housing Act of 1937.

       243.    TMHA did business in connection with the enterprise as a housing authority and

administered a housing voucher program and federal Housing Choice Voucher Program under § 8

of the United States Housing Act of 1937 and used, among other things, Verification of Need Forms,

HUD 9886 Forms, and letters to voucher program participants notifying them of decisions to

terminate their participation in the § 8 voucher program. TMHA also did business as a housing

authority beyond just the housing voucher program.

       244.    Osman did business in connection with the enterprise by overseeing, supervising,

monitoring, and administering the housing voucher program and federal Housing Choice Voucher

Program under § 8 of the United States Housing Act of 1937, supervised persons involved with the

voucher program, including Simeon, and used, among other things, Verification of Need Forms,

HUD 9886 Forms, and letters to voucher program participants notifying them of decisions to

terminate their participation in the § 8 voucher program. Osman also had other responsibilities at

TMHA beyond just the housing voucher program.


                                         Page 62 of 72
       245.    Simeon did business in connection with the enterprise by administering, overseeing,

and monitoring the housing voucher program and federal Housing Choice Voucher Program under

§ 8 of the United States Housing Act of 1937 and used, among other things, Verification of Need

Forms, HUD 9886 Forms, and letters to voucher program participants notifying them of decisions

to terminate their participation in the § 8 voucher program. Simeon also had other responsibilities

at TMHA beyond just the housing voucher program.

       246.    Delbene Lapolla & Thomas did business in connection with the enterprise serving

as a law firm representing and counseling TMHA, Osman, and Simeon in connection with the

administration of the housing voucher program and federal Housing Choice Voucher Program under

§ 8 of the United States Housing Act of 1937 and their use of, among other things, Verification of

Need Forms, HUD 9886 Forms, and letters to voucher program participants notifying them of

decisions to terminate their participation in the § 8 voucher program. Delbene Lapolla & Thomas

had other clients beyond just TMHA.

       247.    The enterprise had as its common purpose the administration the housing

voucher program and federal Housing Choice Voucher Program under § 8 of the United States

Housing Act of 1937 through the misuse of Verification of Need Forms and HUD 9886 Forms,

the use of false pretenses and schemes to defraud to gain unauthorized access to voucher

participants’ medical providers and medical information, and terminating persons’ participation in

the § 8 voucher program without notifying participants of their rights under federal law and TMHA

policy, all in violation of federal law and Due Process rights under the Fourteenth Amendment.

       248.    The enterprise operated with a well-defined structure for decision-making.

TMHA, through Osman and Simeon had the most significant degree of control over the


                                         Page 63 of 72
affairs of the enterprise. They were responsible for the administration of the housing voucher

program.

       249.    TMHA, Osman, and Simeon also had contact from time to time with Delbene LaPolla

& Thomas concerning the voucher program, and the law firm had knowledge and was aware of their

practices and methods in administering the voucher program.

       250.    The enterprise operated with continuity of personnel. TMHA, Osman, and Simeon,

as the administrators of the voucher program, have remained in place and in control throughout the

endeavor.

       251.    Delbene Lapolla & Thomas had an ongoing relationship with TMHA and associated

with the enterprise throughout the endeavor.

       252.    The enterprise had an ascertainable structure which functioned separate and

apart from the pattern of racketeering activity related to voucher program. Putting the

predicate acts of extortion, mail fraud and wire fraud, the enterprise had an on-going

structure and its members were not solely engaged in sporadic and pernicious criminal

activity.

       253.    TMHA, as a housing authority, engaged in lawful activity unrelated to the housing

voucher program.

       254.    Osman and Simeon, as employees of TMHA, engaged in various activities unrelated

to the housing voucher program.

       255.    Delbene Lapolla & Thomas, as a law firm representing TMHA, did legal work for

TMHA unrelated to the housing voucher program.




                                         Page 64 of 72
        256.    If the predicate acts related to the enterprise ceased, Defendants each remained a

viable entity or individual and remained intact.

        257.    TMHA receives federal financial assistance through an Annual Contributions

Contract with HUD and uses this funding, in part, to finance and administer a housing voucher

program and federal Housing Choice Voucher Program under § 8 of the United States Housing Act

of 1937, 42 U.S.C. § 1473(f) and the enterprise’s activities therefore affect interstate commerce.

        258.    TMHA, Osman, Simeon, and Delbene Lapolla & Thomas communicated with,

requested information from, and acted on instructions from each other, and each conspirator played

some role in the conception, creation, or execution of the scheme and assumed some part in directing

the affairs of the enterprise.

        259.    TMHA, Osman, Simeon, and Delbene Lapolla & Thomas agreed to conduct or

participate in the affairs of the RICO Enterprise and agreed to commit or agreed that others

of them would commit acts of extortion, mail fraud or wire fraud, as their regular way of

conducting the affairs of the enterprise.

        260.    TMHA, Osman, Simeon, and Delbene Lapolla & Thomas objectively manifested

an agreement to commit substantive RICO violations and to commit two or more predicate

acts of extortion, mail fraud, and wire fraud through their participation in the conduct of the

affairs of the enterprise.

        261.    TMHA, Osman, Simeon, and Delbene Lapolla & Thomas knew that the predicate

acts were part of a pattern of racketeering activity and agreed to the commission of those acts

to further the schemes described above. Their conduct constitutes a conspiracy to violate 18

U.S.C. § 1962(d).

                                          Page 65 of 72
       262.       TMHA, Osman, Simeon, and Delbene Lapolla & Thomas agreed and combined

with each other, and with persons known and unknown, to do a criminal or unlawful act, or

a lawful act by criminal or unlawful means.

       263.       TMHA, Osman, Simeon, and Delbene Lapolla & Thomas’s conduct was deliberate,

willful, and fraudulent.

       264.       TMHA, Osman, Simeon, and Delbene Lapolla & Thomas objectively manifested

agreement to the commission of the substantive RICO violations and to the commission of

two or more predicate acts through participation in the conduct of the affairs of the

enterprise.

       265.       TMHA, Osman, Simeon, and Delbene Lapolla & Thomas engaged in a pattern of

racketeering activity that can be reasonably inferred from their close professional relationship

and the dependency of the fraudulent acts of each on the fraudulent acts of the others.

       266.       At least one overt and wrongful act was done by one or more of the

conspirators to achieve the purpose of the conspiracy. Those acts were done pursuant to the

common schemes and in furtherance of the objects of the conspiracy and in concert.

       267.       TMHA was represented by lawyers at Delbene Lapolla & Thomas from at least 2002

to the present.

       268.       By at least May or June 2015, Delbene Lapolla & Thomas had knowledge that

TMHA, Osman, and Simeon were administering the § 8 voucher program through the misuse

of Verification of Need Forms and HUD 9886 Forms, the use of false pretenses and schemes to

defraud to gain unauthorized access to voucher participants’ medical providers and medical



                                          Page 66 of 72
information, and terminating persons’ participation in the § 8 voucher program without notifying

participants of their rights under federal law and TMHA policy, all in violation of federal law and

Due Process rights under the Fourteenth Amendment.

       269.    With knowledge of TMHA, Osman, and Simeon’s misconduct and criminal activity,

Delbene Lapolla & Thomas continued to represent TMHA and counseled TMHA, Osman, and

Simeon in choosing to issue Plaintiffs-Intervenors a new three-bedroom voucher as part of an effort

to cover up the misconduct and mitigate any potential future damage to TMHA, Osman and Simeon.

       270.    Delbene Lapolla & Thomas objectively manifested an agreement to participate

and associate with enterprise in a conspiracy of silence by agreeing to keep TMHA, Osman,

and Simeon’s misconduct, criminal activity, and violations of criminal and state law hidden

from Plaintiffs-Intervenors.

       271.    Delbene Lapolla & Thomas played an essential role in the pattern of racketeering

and fraud in the administration of the § 8 voucher program and facilitated its continued

existence by conspiring with Delbene Lapolla & Thomas to provide counsel and guidance

on ways for TMHA, Osman, and Simeon to keep silent and to administer, as well as

continue to administer, the voucher program through the misuse of Verification of Need Forms

and HUD 9886 Forms, the use of false pretenses and schemes to defraud to gain unauthorized access

to voucher participants’ medical providers and medical information, and terminating persons’

participation in the § 8 voucher program without notifying participants of their rights under federal

law and TMHA policy, all in violation of federal law and Due Process rights under the Fourteenth

Amendment.


                                          Page 67 of 72
        272.    As a result of one or more acts predicate to the conspiracy, and the conduct and

participation of TMHA, Osman, Simeon, and Delbene Lapolla & Thomas in the conduct of the

enterprise through a pattern of racketeering activity, Plaintiffs-Intervenors have been injured in their

business or property. As a direct and proximate result of these violations, Plaintiffs-Intervenors have

been injured in that, inter alia, they had to spend money and resources and incur bills and expenses

responding to, as well as compensating for, Defendants's misconduct, fraud, and deception and the

results and consequences thereof.

        273.    RICO permits plaintiffs in a civil action to recover treble damages for “any

person injured in his business or property by reason of a violation of section 1962.” 18 U.S.C.

§ 1964(c). Plaintiffs seek that any damages are duly trebled in accordance with § 1964(c).

        274.    By reason of this violation of 18 U.S.C. §1964(d), Plaintiffs-Intervenors are also

entitled to recover from Defendants prejudgment interest, post-judgment interest, costs, and

attorney’s fees.

        275.    The Defendants’ actions and statements as set forth above were intentional, willful,

corrupt, and in callous disregard for the rights of JG, SP, and the minor children AP and MH, and

support an award of punitive damages.

        WHEREFORE, Plaintiffs-Intervenors pray this Court to enter judgment in their favor and

for the following relief:

        A.      Award Plaintiffs-Intervenors damages in an amount to be determined at trial and

                duly treble those damages in accordance with 18 U.S.C. § 1964(c);



                                            Page 68 of 72
       B.      Award Plaintiffs-Intervenors punitive damages;

       C.      Award Plaintiffs-Intervenors prejudgment interest, post- judgment interest;

       D.      Award Plaintiffs-Intervenors their fees, costs, and attorney’s fees available under 18

               U.S.C. § 1964(c); and

       E.      Grant such other relief as is just.

                                 COUNT FOURTEEN
                                   Ohio Common Law
                       Intentional Infliction of Emotional Distress
     (Against Defendants TMHA and Osman and Simeon, in their Official Capacities)

       276.    Plaintiffs-Intervenors JG, SP, and their minor children AP and MH, for Count

Fourteen of their Intervening Complaint, allege:

       277.    Plaintiffs-Intervenors re-allege and incorporate by reference as if re-alleged in

paragraph 277 all other allegations in this Intervening Complaint.

       278.    TMHA, Osman, and Simeon each intended to cause Plaintiffs-Intervenors serious

emotional distress.

       279.    The conduct of each of these Defendant as alleged, as well as Defendants’ conduct

may be revealed in discovery, was extreme and outrageous.

       280.    The conduct of TMHA, Osman, and Simeon was the proximate cause of Plaintiffs-

Intervenors serious emotional distress.

       281.    These Defendants’ conduct as alleged was intentional, willful, corrupt, and in callous

disregard for the rights of JG, SP, and the minor children AP and MH, and support an award of

punitive damages.

       WHEREFORE, Plaintiffs-Intervenors pray this Court to enter judgment in their favor and

for the following relief:


                                           Page 69 of 72
        A.     Award Plaintiffs-Intervenors actual and compensatory damages in an amount to be

               determined at trial;

        B.     Award Plaintiffs-Intervenors punitive damages;

        C.     Award Plaintiffs-Intervenors prejudgment interest, post- judgment interest;

        D.     Award Plaintiffs-Intervenors their fees, costs, and attorney’s fees available under the

               law; and

        E.     Grant such other relief as is just.

                                    COUNT FIFTEEN
                                    Ohio Common Law
                        Intentional Infliction of Emotional Distress
                   (Against Defendants Osman and Simeon, Individually)

        282.   Plaintiffs-Intervenors JG, SP, and their minor children AP and MH, for Count Fifteen

of their Intervening Complaint, allege:

        283.   Plaintiffs-Intervenors re-allege and incorporate by reference as if re-alleged in

paragraph 283 all other allegations in this Intervening Complaint.

        284.   Osman, and Simeon each intended to cause Plaintiffs-Intervenors serious emotional

distress.

        285.   The conduct of each of these Defendant as alleged, as well as their conduct may be

revealed in discovery, was extreme and outrageous.

        286.   The conduct of Osman, and Simeon was the proximate cause of Plaintiffs-Intervenors

serious emotional distress.

        287.   The conduct of Osman and Simeon as alleged was intentional, willful, corrupt, and

in callous disregard for the rights of JG, SP, and the minor children AP and MH, and support an

award of punitive damages.


                                           Page 70 of 72
       WHEREFORE, Plaintiffs-Intervenors pray this Court to enter judgment in their favor and

for the following relief:

       A.      Award Plaintiffs-Intervenors actual and compensatory damages in an amount to be

               determined at trial;

       B.      Award Plaintiffs-Intervenors punitive damages;

       C.      Award Plaintiffs-Intervenors prejudgment interest, post- judgment interest;

       D.      Award Plaintiffs-Intervenors their fees, costs, and attorney’s fees available under the

               law; and

       E.      Grant such other relief as is just.

                                         JURY DEMAND

       288.    Plaintiffs-Intervenors JG, SP, and their minor children, AP and MH, each demand a

trial by jury on each and every claim to which they are so entitled.

                                                Respectfully submitted,

                                               JONATHAN F. ANDRES P.C.

                                                 /s/ Jonathan F. Andres
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                                               Counsel for Plaintiffs-Intervenors




                                           Page 71 of 72
                           CERTIFICATE OF SERVICE

      The undersigned certifies that a copy of the foregoing was served this 27th day of
March, 2017 to all counsel of record via the Court’s electronic filing system.


                                               /s/ Jonathan F. Andres




                                     Page 72 of 72
